Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 1 of 52 Pageid#: 66




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

 LORI FITZGERALD, et al.,           )    Case No. 3:20-cv-00044-GEC
                                    )
                   Plaintiffs,      )
                                    )
 vs.                                )
                                    )
 JOSEPH WILDCAT SR., et al.,        )
                                    )
                   Defendants.      )




      DEFENDANTS JOSEPH WILDCAT, SR., JESSI LORENZO, AND NICOLE
     REYNOLDS’ BRIEF IN SUPPORT OF MOTION TO COMPEL INDIVIDUAL
   ARBITRATION OF PLAINTIFF KEVIN WILLIAMS’ CLAIMS AND STAY KEVIN
       WILLIAMS’ CLAIMS PENDING ARBITRATION AND IN SUPPORT OF
        MOTION TO DISMISS PLAINTIFFS’ CLAIMS AGAINST THEM OR,
         ALTERNATIVELY, TO STRIKE CLASS ACTION ALLEGATIONS




  111062418
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 2 of 52 Pageid#: 67




                                                       Table of Contents

 I.      INTRODUCTION .............................................................................................................10
 II.     ARGUMENT SUMMARY ...............................................................................................10
         A.        Count I ...................................................................................................................11
         B.        Count II ..................................................................................................................12
         C.        Count III .................................................................................................................12
         D.        Why Each Count Fails ...........................................................................................12
 III.    BACKGROUND ...............................................................................................................13
 IV.     PLAINTIFFS’ COMPLAINT............................................................................................15
         A.        The Tribe, the BDC, and LDF Holdings................................................................15
         B.        The Tribal Defendants ...........................................................................................16
                   1.         Mr. Wildcat ................................................................................................16
                   2.         Ms. Reynolds .............................................................................................16
                   3.         Ms. Lorenzo ...............................................................................................17
         C.        The Plaintiffs ..........................................................................................................17
                   1.         Lori Fitzgerald ...........................................................................................17
                   2.         Aaron Fitzgerald ........................................................................................18
                   3.         Kevin Williams ..........................................................................................18
                   4.         The Purported Classes................................................................................18
 V.      STANDARDS OF REVIEW .............................................................................................19
         A.        Federal Rule of Civil Procedure 12(b)(1) ..............................................................19
         B.        Federal Rule of Civil Procedure 12(b)(3) ..............................................................20
         C.        Federal Rule of Civil Procedure 12(b)(6) ..............................................................22
         D.        Federal Rule of Civil Procedure 12(b)(7) ..............................................................23
         E.        Federal Rule of Civil Procedure 12(f) ...................................................................23
 VI.     ARGUMENT .....................................................................................................................24
         A.        Mr. Williams’ Claims Are Subject to Individual, Binding Arbitration
                   Before the AAA And Must Be Compelled to Arbitration .....................................24
                   1.         Because Mr. Williams Agreed to Arbitrate Arbitrability, All Issues
                              Concerning the Agreement’s Scope, Validity or Enforceability
                              Have Been Delegated to the Arbitrator ......................................................24
                   2.         Assuming Arguendo That The Court Addresses The Issue, The
                              Four-Factor Arbitration Test Is Satisfied ...................................................25


  111062418                                                          i
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 3 of 52 Pageid#: 68




                              a.         A Valid and Enforceable Arbitration Agreement Exists ...............25
                              b.         Mr. Williams’ Claims Are Subject To Arbitration,
                                         Assuming Arguendo That The Court Addresses That Issue ..........27
                   3.         The Claims Brought By Mr. Williams Should Be Stayed Pending
                              Arbitration ..................................................................................................28
         B.        The Tribal Defendants Should Be Dismissed For At Least Four
                   Independent Reasons .............................................................................................29
                   1.         The Tribal Defendants Must Be Dismissed Because the Claims
                              Against Them Fail to Plead Which Defendant Engaged in Which
                              Act ..............................................................................................................29
                   2.         Alternatively, Plaintiffs Have Not Stated a Claim Against The
                              Tribal Defendants And, Thus, Counts I, II, And III Should Be
                              Dismissed Pursuant to Rule 12(b)(6) .........................................................30
                              a.         The Elements of Plaintiffs’ Claims ................................................32
                              b.         The Complaint Contains Numerous Allegations That Are
                                         Not Entitled to the Presumption of Truth ......................................34
                              c.         The Well-Pled Allegations Do Not Plausibly State A Claim
                                         For Relief Against The Tribal Defendants Under RICO ...............36
                              d.         The Well-Pled Allegations Do Not Plausibly State A Claim
                                         For Relief Against President Wildcat Under the
                                         Declaratory Judgment Act .............................................................40
                   3.         The Tribal Defendants Are Not The Real Parties In Interest And,
                              Thus, Must Be Dismissed ..........................................................................42
                   4.         The Court Should Dismiss The Tribal Defendants Because The
                              Tribe And Its Subsidiaries Are Necessary And Indispensable
                              Parties That Plaintiffs Cannot Join ............................................................45
                              a.         The Tribe Is Required ....................................................................46
                              b.         It Is Not Feasible To Join The Tribe ..............................................46
                              c.         The Action Should Not Proceed Among The Existing
                                         Parties .............................................................................................47
         C.        Alternatively, The Class Action Allegations Should Be Stricken .........................48
 VII.    CONCLUSION ..................................................................................................................50




  111062418                                                          ii
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 4 of 52 Pageid#: 69




                                                TABLE OF AUTHORITIES

                                                                                                                               Page(s)

 Cases

 A.B. By & Through F.B. v. Pleasant Valley Sch. Dist.,
    No. 3:17-CV-02311, 2018 WL 1960382 (M.D. Pa. Apr. 25, 2018) ........................................29

 ACA Fin. Guar. Corp. v. City of Buena Vista, Virginia,
   298 F. Supp. 3d 834 (W.D. Va. 2018), aff’d, 917 F.3d 206 (4th Cir. 2019) ...........................39

 Aggarao v. MOL Ship Mgmt. Co.,
    675 F.3d 355 (4th Cir. 2012) ...................................................................................................18

 Allen v. Smith,
     No. 12cv1668, 2013 WL 950735 (S.D. Cal. Mar. 11, 2013)...................................................42

 Andrews v. Wolcott Rivers Gates,
    No. 3:14CV76-HEH, 2014 WL 3016483 (E.D. Va. July 3, 2014), aff’d sub
    nom. Andrews v. Gates, 587 F. App’x 75 (4th Cir. 2014).......................................................36

 Ashcroft v. Iqbal,
    556 U.S. 662 (2009) ...........................................................................................................20, 29

 AT&T Techs., Inc. v. Commc’ns Workers of Am.,
   475 U.S. 643 (1986) .................................................................................................................26

 Barcenas v. Fed. Home Loan Mortg. Corp.,
    No. CIV.A. H-12-2466, 2013 WL 286250 (S.D. Tex. Jan. 24, 2013) .....................................38

 Bates v. Strawbridge Studios, Inc.,
    No. 7:11-CV-33, 2011 WL 1882419 (W.D. Va. May 17, 2011) .............................................29

 Belizan v. Easy Money of Louisiana, Inc.,
    No. CIV.A.00-2949, 2002 WL 31115249 (E.D. La. Sept. 19, 2002) ......................................30

 Bell Atlantic Corp. v. Twombly,
    550 U.S. 544 (2007) .................................................................................................................11

 Breakthrough Mgmt. Grp., Inc. v. Chukchansi Gold Casino & Resort,
    629 F.3d 1173 (10th Cir. 2010) ...............................................................................................41

 In re Brian W. Coughlin,
     No. 19-14142, 2020 WL 6140388 (Bankr. D. Mass. Oct. 19, 2020).......................................13

 In re Bridgestone/Firestone, Inc.,
     288 F.3d 1012 (7th Cir. 2002) .................................................................................................47

  111062418                                                         iii
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 5 of 52 Pageid#: 70




 Buckeye Check Cashing, Inc. v. Cardegna,
    546 U.S. 440 (2006) .................................................................................................................18

 Busby v. Crown Supply, Inc.,
    896 F.2d 833 (4th Cir. 1990) ...................................................................................................31

 Cedric Kushner Promotions, Ltd. v. King,
    533 U.S. 158 (2001) ...........................................................................................................31, 35

 Compound Prop. Mgmt., LLC v. Build Realty, Inc.,
   No. 1:19-CV-133, 2020 WL 2734763 (S.D. Ohio May 26, 2020) ....................................31, 32

 Confederated Tribes of Chehalis Indian Reservation v. Lujan,
    928 F.2d 1496 (9th Cir. 1991) .................................................................................................46

 Cook v. AVI Casino Enterprises, Inc.,
    548 F.3d 718 (9th Cir. 2008) ...................................................................................................41

 Cty. of Dorchester, S.C. v. AT & T Corp.,
    407 F. Supp. 3d 561 (D.S.C. 2019)....................................................................................21, 46

 Davis v. BSH Home Appliances Corp.,
    No. 4:15-CV-103-FL, 2016 WL 2901741 (E.D.N.C. May 18, 2016) .....................................19

 Davis ex rel. Davis v. United States,
    343 F.3d 1282 (10th Cir. 2003) .........................................................................................45, 46

 De La Cruz v. Nordstrom, Inc.,
    No. 19-80109-CIV, 2019 WL 3412172 (S.D. Fla. May 2, 2019) ............................................32

 DIRECTV, LLC v. Saylor,
    No. 5:13CV111, 2015 WL 1477885 (W.D. Va. Mar. 31, 2015) .............................................19

 Duke Energy Progress, LLC v. Roanoke River Basis Ass’n,
    No. 4:17-CV-00032, 2017 WL 3326970 (W.D. Va. Aug. 3, 2017) ........................................32

 EEOC v. Waffle House, Inc.,
   534 U.S. 279 (2002) .................................................................................................................19

 EQT Prod. Co. v. Adair,
   764 F.3d 347 (4th Cir. 2014) ...................................................................................................47

 Ferguson v. Moeller,
    No. 2:16-CV-41, 2016 WL 1106609 (W.D. Pa. Mar. 22, 2016) .......................................31, 37

 Foster v. Wintergreen Real Estate Co.,
    No. 3:08CV00031, 2008 WL 4829674 (W.D. Va. Nov. 6, 2008), aff’d, 363 F.
    App’x 269 (4th Cir. 2010) .......................................................................................................30

  111062418                                                         iv
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 6 of 52 Pageid#: 71




 Green Tree Fin. Corp.-Alabama v. Randolph,
    531 U.S. 79 (2000) ...................................................................................................................19

 Green v. Zachry Industrial, Inc.,
    36 F.3d 669 (W.D. Vir. 2014)..................................................................................................27

 Gregoria v. Total Asset Recovery, Inc.,
    No. CIV.A. 12-4315, 2015 WL 115501 (E.D. Pa. Jan. 7, 2015) .............................................44

 Hafer v. Melo,
    502 U.S. 21 (1991) ...................................................................................................................41

 U.S. ex rel. Hall v. Tribal Dev. Corp.,
    100 F.3d 476 (7th Cir. 1996) ...................................................................................................46

 Hengle v. Asner,
    433 F. Supp. 3d 825 (E.D. Va. 2020), motion to certify appeal granted, No.
    3:19CV250 (DJN), 2020 WL 855970 (E.D. Va. Feb. 20, 2020) .............................................20

 Hill v. Stryker Sales Corp.,
     No. 4:13-CV-0786-BHH, 2014 WL 4198906 (D.S.C. Aug. 20, 2014) ...................................27

 Hirsch v. Lyndon S. Ins. Co.,
    No. 3:17-CV-1215-J-39JBT, 2019 WL 5110622 (M.D. Fla. June 7, 2019),
    report and recommendation adopted sub nom. Hirsch v. Ensurety Ventures,
    LLC, No. 3:17-CV-1215-J-39JBT, 2019 WL 8370863 (M.D. Fla. Aug. 6,
    2019), aff’d, 805 F. App’x 987 (11th Cir. 2020) .....................................................................28

 Hunter v. NHcash.com, LLC,
    No. 17-348, 2017 WL 4052386, ** 6-7 (E.D. Va. Sept. 12, 2017) .........................................25

 Jackson v. Warning,
    No. CV PJM 15-1233, 2016 WL 7228866 (D. Md. Dec. 13, 2016) ........................................28

 John v. Nat’l Sec. Fire & Cas. Co.,
    501 F.3d 443 (5th Cir. 2007) ...................................................................................................46

 Jones v. Crisis Intervention Servs.,
    239 F. Supp. 3d 833 (D. Del.), aff’d, 687 F. App’x 121 (3d Cir. 2017) ..................................29

 JW Gaming Dev., LLC v. James,
    No. 3:18-CV-02669-WHO, 2018 WL 4853222 (N.D. Cal. Oct. 5, 2018), aff’d,
    78 F. App’x 545 (9th Cir. 2019) cert. denied, 140 S. Ct. 1297 (2020) ....................................18

 Keffer v. Reese,
    No. 2:17-CV-00332-LPL, 2018 WL 489007 (W.D. Pa. Jan. 19, 2018) ..................................34



  111062418                                                          v
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 7 of 52 Pageid#: 72




 Kiddie Acad. Domestic Franchising, LLC v. Wonder World Learning, LLC,
    No. CV ELH-17-3420, 2019 WL 1441812 (D. Md. Mar. 31, 2019) .......................................38

 Kiessling v. State Farm Mut. Auto. Ins. Co.,
    No. CV 18-4281, 2019 WL 634639 (E.D. Pa. Feb. 14, 2019).................................................20

 Kiowa Tribe of Oklahoma v. Mfg. Techs., Inc.,
    523 U.S. 751 (1998) .................................................................................................................41

 Lewis v. Clark,
    137 S. Ct. 1285 (2017) .............................................................................................................42

 Mason v. Midland Funding LLC,
   No. 1:16-CV-02867-CC-RGV, 2017 WL 6994577 (N.D. Ga. July 27, 2017),
   report and recommendation adopted as modified, No. 1:16-CV-2867-CC,
   2017 WL 8186866 (N.D. Ga. Sept. 29, 2017) .........................................................................37

 Matthews v. Fairfax Trucking, Inc.,
    No. 1:14-CV-01219-GBL, 2015 WL 1906073 (E.D. Va. Apr. 13, 2015) ...............................32

 McCrea v. Wells Fargo,
   No. CV RDB-18-2490, 2019 WL 2513770 (D. Md. June 17, 2019), motion for
   relief from judgment denied, No. CV RDB-18-2490, 2019 WL 4962022 (D.
   Md. Oct. 8, 2019) .....................................................................................................................27

 Michigan v. Bay Mills Indian Cmty.,
    572 U.S. 782 (2014) .................................................................................................................41

 Moss v. BMO Harris Bank, N.A.,
   258 F. Supp. 3d 289 (E.D.N.Y. 2017) .....................................................................................29

 National Union Fire Ins. Co. v. Rite Aid of South Carolina, Inc.,
    210 F.3d 246 (4th Cir.2000) ....................................................................................................21

 Noe v. City Nat’l Bank of W. Virginia,
    No. 20-1230, 2020 WL 5814243 (4th Cir. Sept. 30, 2020) .....................................................20

 Nolen v. Nucentrix Broadband Networks Inc.,
    293 F.3d 926 (5th Cir. 2002) ...................................................................................................30

 Novic v. Credit One Bank, Nat’l Ass’n,
    757 F. App’x 263 (4th Cir. 2019) ......................................................................................22, 23

 Parm v. Nat’l Bank of California, N.A.,
    242 F. Supp. 3d 1321 (N.D. Ga. 2017) ....................................................................................39

 Pennachietti v. Mansfield,
    No. 17-02582, 2017 WL 6311646 (E.D. Pa. Dec. 11, 2017)...................................................18

  111062418                                                          vi
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 8 of 52 Pageid#: 73




 Pennhurst State Sch. & Hosp. v. Halderman,
    465 U.S. 89 (1984) ...................................................................................................................17

 Pennsylvania v. Think Finance, LLC,
    No. 14-cv-7139, 2018 WL 4633750 (E.D. Pa. Sept. 26, 2018) ...............................................40

 Pistor v. Garcia,
     791 F.3d 1104 (9th Cir. 2015) .................................................................................................42

 Raceway Properties, LLC v. LSOF Carlsbad Land L.P.,
    157 F. App’x 959 (9th Cir. 2005) ............................................................................................31

 Ray v. Spirit Airlines, Inc.,
    126 F. Supp. 3d 1332 (S.D. Fla. 2015), aff’d, 836 F.3d 1340 (11th Cir. 2016) ................35, 36

 Rent-A-Ctr., W., Inc. v. Jackson,
    561 U.S. 63, 130 S. Ct. 2772, 177 L. Ed. 2d 403 (2010) .........................................................22

 Roberts v. The Scott Fetzer Co.,
    No. 4:07-CV-80 (CDL), 2010 WL 3937312 (M.D. Ga. Sept. 30, 2010).................................48

 Romero v. Clean Harbors Surface Rentals USA, Inc.,
   368 F. Supp. 3d 152 (D. Mass.), opinion clarified, 404 F. Supp. 3d 529 (D.
   Mass. 2019) ..............................................................................................................................21

 Salton Sea Venture, Inc. v. Ramsey,
     No. 11CV1968-IEG WMC, 2011 WL 4945072 (S.D. Cal. Oct. 18, 2011) .............................46

 Santa Clara Pueblo v. Martinez,
    436 U.S. 49 (1978) ...................................................................................................................41

 Scarlett v. Air Methods Corp.,
    922 F.3d 1053 (10th Cir. 2019) ...............................................................................................38

 Smith v. Babbitt,
    875 F. Supp. 1353 (D. Minn. 1995), judgment aff’d, appeal dismissed in part,
    100 F.3d 556 (8th Cir. 1996) ...................................................................................................41

 In re TD Bank, N.A. Debit Card Overdraft Fee Litig.,
     325 F.R.D. 136 (D.S.C. 2018) .................................................................................................48

 Tietsworth v. Sears,
     720 F. Supp. 2d 1123 (N.D. Cal. 2010) ...................................................................................48

 United Keetoowah Band of Cherokee Indians in Oklahoma v. Kempthorne,
    630 F. Supp. 2d 1296 (E.D. Okla. 2009) ...........................................................................43, 44



  111062418                                                           vii
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 9 of 52 Pageid#: 74




 United States v. Rawlings,
    No. CIV.A.DKC 09-2112, 2010 WL 2292508 (D. Md. June 3, 2010) ...................................21

 United Steelworkers of Am. v. Warrior & Gulf Nav. Co.,
    363 U.S. 574 (1960) .................................................................................................................26

 Viridis Corp. v. TCA Glob. Credit Master Fund, LP,
     155 F. Supp. 3d 1344 (S.D. Fla. 2015) ....................................................................................37

 Walters v. McMahen,
   795 F. Supp. 2d 350 (D. Md. 2011), aff’d, 684 F.3d 435 (4th Cir. 2012) .........................37, 38

 Wikimedia Found. v. Nat’l Sec. Agency,
    857 F.3d 193 (4th Cir. 2017) ...................................................................................................32

 Williams v. Barkley,
    No. 3:14CV1600, 2015 WL 478409 (M.D. Pa. Feb. 4, 2015), aff’d, 616 F.
    App’x 484 (3d Cir. 2015).........................................................................................................34

 Williams v. Big Picture Loans, LLC,
    929 F.3d 170 (4th Cir. 2019) ...................................................................................................40

 Williams v. Big Picture Loans, LLC,
    No. 18-1827, 2019 WL 2864341 (4th Cir. July 3, 2019).........................................................41

 Witbeck v. Equip. Transp., LLC,
    No. 1:17-CV-0498, 2017 WL 6606906 (M.D. Pa. Dec. 27, 2017)..........................................32

 Yashenko v. Harrah’s NC Casino Co., LLC,
    446 F.3d 541 (4th Cir. 2006) .............................................................................................44, 45

 In re Yasmin & Yaz (Drospirenone) Mktg.,
     275 F.R.D. 270 (S.D. Ill. 2011) ...............................................................................................48

 Statutes

 18 U.S.C. § 1962 ............................................................................................................................35

 18 U.S.C. § 1962(d) .......................................................................................................................31

 Ga. Code §§ 7-4-2, 16-17-2 ...........................................................................................................30

 Va. Code Ann. § 6.2-1541 .............................................................................................................39

 Other Authorities

 85 Fed. Reg. 5462, 5464 (Jan. 30, 2020) .................................................................................11, 13



  111062418                                                           viii
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 10 of 52 Pageid#: 75




 7AA Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice
   and Procedure § 1785 (3d ed. 2005) ........................................................................................47




  111062418                                                    ix
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 11 of 52 Pageid#: 76




 I.      INTRODUCTION

         In a blatant attempt to evade tribal sovereign immunity and obtain money damages, the

 Plaintiffs have brought suit against three former or current employees or officials1 of the Lac du

 Flambeau Band of Lake Superior Chippewa Indians (“Tribe”), a federally-recognized Indian tribe,

 based on loans Plaintiffs received from the Tribe’s entities, which they assert are void under state

 law.2    The Complaint seeks to establish several classes of persons who entered into loan

 agreements with any and all of the Tribe’s lending entities. Plaintiffs seek to recover actual

 damages, which they assert “include any interest, fees, or other sums collected by the enterprise”

 and ask that the Court declare the Tribe’s loans valid and uncollectable3 The Plaintiffs’ claims are

 not maintainable for numerous reasons; most notably, Plaintiff Kevin Williams’ claims are subject

 to mandatory arbitration before the American Arbitration Association (“AAA”), and all claims are

 deficiently pled.

 II.     ARGUMENT SUMMARY

         Plaintiffs Aaron Fitzgerald, Lori Fitzgerald, and Kevin Williams allege they applied for

 and received loans from “LDF Holdings” or its subsidiaries and that the loans did not comply with

 state law (Virginia and Georgia). Plaintiffs did not specify which particular subsidiary they

 obtained the loans from or when, inter alia. Plaintiffs admit that LDF Holdings is an entity that

 was formed by the Tribe, and that its subsidiaries are also organized under the laws of the Tribe.4

 In their Complaint, Plaintiffs identify 20 subsidiaries of LDF Holdings and seek to certify a


         1
          Defendants Joseph Wildcat, Sr. (“Mr. Wildcat”), Jessi Lorenzo (“Ms. Lorenzo”), and Nicole Reynolds
 (“Ms. Reynolds”) are collectively referred to as “Tribal Defendants”.
          2
            The Tribal Defendants assert that the loans at issue are governed by and issued in accordance with Tribal
 law and applicable federal law and dispute that the loans are subject to state law, however, the instant Motion does
 not require resolution of that issue.
         3
             E.g., ECF No. 1 ¶¶ 142, 145.
         4
             ECF No. 1 ¶¶ 1, 3.
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 12 of 52 Pageid#: 77




 nationwide class of persons who: (1) reside anywhere in the United States where “the debt is void”;

 and (2) obtained loans from any of LDF Holdings’ 20 subsidiaries.5

         Instead of suing the Tribal entity(ies) that issued the loans, Plaintiffs have improperly sued

 Mr. Wildcat, Ms. Lorenzo, and Ms. Reynolds. Mr. Wildcat is a former elected President of the

 Lac du Flambeau Tribal Council (“LDF Tribal Council”), which is the Tribe’s governing body.

 Plaintiffs have sued Mr. Wildcat in his official and individual capacity. Ms. Lorenzo is the

 President of LDF Holdings and Plaintiffs have sued her in her individual capacity. Ms. Reynolds

 is a former President of the Board of Directors of the L.D.F. Business Development Corporation

 (“BDC”), which is the Tribe’s non-gaming economic arm and of which LDF Holdings is a

 subsidiary. Plaintiffs generically refer to the Tribal Defendants in the Complaint as “Defendants.”

 Plaintiffs have also sued ZenResolve, LLC, a non-Tribal entity.

         A.          Count I

         The first cause of action is a class claim against “all Defendants” in their individual

 capacities for a violation of the Racketeer Influenced and Corrupt Organizations Act (“RICO”),

 18 U.S.C. § 1692(c). The purported class is defined as follows:

         All individuals: (1) residing in Virginia, Georgia, or another state where the debt is
         void; (2) who entered into a loan agreement with any subsidiary of LDF Holdings.6

 Plaintiffs loosely allege that the Tribe, the BDC, and LDF Holdings established “one or more

 association in fact enterprises to evade state usury laws”7 and that they participated in “the

 collection of unlawful debt.”8




         5
              E.g., ECF No. 1 ¶ 52.
         6
              ECF No. 1 ¶ 112.
         7
              ECF No. 1 ¶ 118.
         8
              ECF No. 1 ¶¶ 126, 128.

  111062418                                       11
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 13 of 52 Pageid#: 78




         B.         Count II

         The second cause of action is also a class claim against “all Defendants” in their individual

 capacities for violation of RICO, 18 U.S.C. § 1962(d). The purported class is the same as the class

 identified in the first cause of action. Plaintiffs allege that “Defendants each knowingly agreed to

 participate in the scheme alleged herein” to collect “unlawful debt.”9

         C.         Count III

         The third cause of action is a class claim against Mr. Wildcat in his official capacity and

 seeks a declaratory judgment that the loan agreements are invalid and the loans are uncollectable.10

 For that cause of action, Plaintiffs seek to establish the following class:

         All individuals: (1) residing in Virginia, Georgia, or another state where the debt is
         void; (2) who entered into a loan agreement with any subsidiary of LDF Holdings;
         and (3) who have any outstanding balance on their loan.11

         The Complaint contains two additional causes of action, but they are not against the Tribal

 Defendants.

         D.         Why Each Count Fails

         As to Mr. Williams, his claims must be compelled to arbitration. As set forth below, Mr.

 Williams entered into loan agreements with entities of the Tribe and all of the loan agreements

 contain a delegation clause and binding “Arbitration Provision” before the AAA.12

         In regard to the claims of all of the Plaintiffs against the Tribal Defendants (Counts I, II,

 and III), they should be dismissed, first, because they fail to meet the requirements of Fed. R. Civ.

 P. 8, as the Complaint constitutes an impermissible shotgun pleading.


         9
              ECF No. 1 ¶¶ 140-141.
         10
              ECF No. 1 ¶ 158.
         11
              ECF No. 1 ¶ 145.
          12
             Declaration of Juanita Huguley in Support of Motion to Compel Arbitration ¶¶ 12-16, which is attached
 hereto as “Exhibit 1.”

  111062418                                             12
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 14 of 52 Pageid#: 79




         Second, relatedly, the causes of action against the Tribal Defendants are threadbare and do

 not plausibly state a cause of action against them under Bell Atlantic Corp. v. Twombly, 550 U.S.

 544 (2007) and its progeny. For example, there are no allegations to support that the Tribal

 Defendants themselves entered into loans with Plaintiffs or collected any money from Plaintiffs.

 For this reason, they should be dismissed.

         Third, even if the Court finds that the Complaint states a claim against the Tribal

 Defendants, they are improperly named in their individual capacities. A thorough review of the

 Complaint demonstrates that the Tribal Defendants are sued because of their official capacities

 and the relief sought would operate against the Tribe. Thus, the Tribe and its entities13 are the real

 parties in interest and tribal sovereign immunity bars this suit. For this independent reason, the

 Tribal Defendants should be dismissed.

         Fourth, the Tribe and LDF Holdings’ subsidiaries are necessary and indispensable parties

 to this action who cannot be joined. Thus, the Tribal Defendants should be dismissed pursuant to

 Fed. R. Civ. P. 12(b)(7).

         Finally, in the alternative, the Plaintiffs’ class action allegations must be stricken because,

 as a matter of law, Plaintiffs cannot establish the class action factors.

 III.    BACKGROUND

         The Tribe is an Indian tribal government that executed treaties with the United States in

 1837, 1842, and 1854. The Tribe is recognized by the United States Department of the Interior to

 have the immunities and privileges available to federally recognized Indian tribes by virtue of their

 government-to-government relationship with the United States. 85 Fed. Reg. 5462, 5464 (Jan. 30,

 2020). The Tribe has over 3,000 members, with more than 2,000 residing on the Tribe’s 86,000-


         13
              The Tribe and its entities may be collectively referred to herein as “the Tribe.”

  111062418                                                  13
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 15 of 52 Pageid#: 80




 acre treaty guaranteed reservation, located in northern Wisconsin. The Tribe (including its entities)

 is the largest employer in Vilas County, Wisconsin.14

          In August 2012, the Tribe created the BDC as an economic arm of the Tribe.15 The Tribe

 established the BDC to create jobs and generate revenue to contribute to the Tribe’s general fund.

 The BDC is governed by a Board of Directors, which consists of the members of the LDF Tribal

 Council.16 The Directors individually have no power to act on behalf of the BDC.17

          In the exercise of Tribal sovereignty, the Tribe enacted the Lac du Flambeau Tribal

 Consumer Financial Services Regulatory Ordinance (“Ordinance”), which authorized “lending

 over the internet provided that such internet lending is consistent with applicable federal and Tribal

 laws and regulations.”18 The Ordinance authorized businesses wholly owned by the Tribe to

 engage in consumer financial services and also established the Tribal Consumer Financial Services

 Regulatory Authority (“TFSRA”), which regulates the Tribe’s online consumer financial

 services.19

          Thereafter, the LDF Tribal Council created Holdings for the purpose of engaging in

 consumer financial services through the creation and operation of subsidiaries.20 The Tribe’s

 online consumer financial services business provides jobs to Tribal and community members.21




          14
               See https://dpi.wi.gov/amind/tribalnationswi/ldf (last visited Oct. 15, 2020).
         15
            Declaration of John Johnson, Sr. (“Johnson Decl.”), attached hereto as “Exhibit 2,” ¶ 6.a, filed in support
 of Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(7).
          16
               Johnson Decl. ¶ 6.a.
          17
               Johnson Decl. ¶ 6.a.
          18
               Johnson Decl. ¶ 6.b.
          19
               Johnson Decl. ¶ 6.c.
          20
               Johnson Decl. ¶ 6.d.
          21
               Johnson Decl. ¶ 6.f.

  111062418                                                   14
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 16 of 52 Pageid#: 81




 The BDC (and its subsidiaries) distributes profits to the Tribe’s general fund, which supports the

 Tribal government, as well as programs and services for Tribal members.22

         Notably, the court in In re Brian W. Coughlin, No. 19-14142, 2020 WL 6140388 (Bankr.

 D. Mass. Oct. 19, 2020) recently held that the BDC, Holdings, and a subsidiary of LDF Holdings

 are entitled to sovereign immunity from suit.

 IV.     PLAINTIFFS’ COMPLAINT

         A.         The Tribe, the BDC, and LDF Holdings

         As set forth above, Plaintiffs acknowledge that the Tribe is a federally-recognized Indian

 tribe and, indeed, it is.23 85 Fed. Reg. 5462, 5464 (Jan. 30, 2020). Plaintiffs also correctly allege

 the Tribe created the BDC and LDF Holdings in 2012 and that LDF Holdings is managed by the

 BDC with the oversight and management of the LDF Tribal Council.24 Furthermore, Plaintiffs

 assert that LDF Holdings has subsidiaries that issue loans and that the Tribe has adopted ordinances

 and laws governing their lending businesses, which is accurate.25 Plaintiffs have also, correctly,

 alleged that the LDF Tribal Council’s management over the BDC includes “the appointment and

 removal of Board members, designation of Board salaries, and oversight over the operations.”26

         However, the Complaint contains numerous allegations (set forth fully below) that are not

 entitled to the presumption of truth because they are “based on information and belief,” are legal

 conclusions masquerading as facts or are conclusory. For example, the Complaint contains

 immaterial allegations that pertain to persons involved in the tribal lending industry that have



         22
              Johnson Decl. ¶ 7.
         23
              ECF No. 1 ¶ 1.
         24
              ECF No. 1 ¶¶ 40, 45-46.
         25
              ECF No. 1 ¶¶ 16, 42.
         26
              ECF No. 1 ¶ 47.

  111062418                                       15
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 17 of 52 Pageid#: 82




 absolutely nothing to do with the Tribal Defendants or the Tribe and such allegations must only

 have been included in an attempt to sully the Court’s perception of the Tribe and Tribal

 Defendants.27

           Also, notably, Plaintiffs failed to allege:

                     Which particular entity(ies) issued the loans;
                     When the loans were issued;
                     The amount of the loan(s); and
                     How much, if any, principal was repaid.

           B.         The Tribal Defendants

                      1.       Mr. Wildcat

           Plaintiffs allege he is a resident of Wisconsin and is the head of the Tribe’s Executive

 Council. (ECF No. 1 ¶ 12.) Plaintiffs also allege that he is or has been an “Ex-Officio Board

 Member” of the BDC and that he exercises high-level supervision over the BDC, including LDF

 Holdings and its subsidiaries. (Id. ¶ 12.)

           The remaining allegations against President Wildcat are upon information and belief,

 including that he was “instrumental” in furthering the Tribe’s lending businesses, has signed

 articles for several lending businesses, and has engaged in the collection of unlawful debt. (Id. ¶¶

 57-60.)

                      2.       Ms. Reynolds

           Plaintiffs allege that Ms. Reynolds is a resident of Wisconsin, she is or has served as the

 President of the BDC Board of Directors, and has directed the affairs and controlled “LDF Funding

 [sic] and its lending subsidiaries.” (ECF No. 1 ¶¶ 13, 66.)




           27
                See, e.g., ECF No. 1 ¶¶ 36-37.

  111062418                                              16
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 18 of 52 Pageid#: 83




           The remaining allegations against Ms. Reynolds are upon information and belief. (Id. ¶¶

 63-65.)

                       3.        Ms. Lorenzo

           Plaintiffs allege that Ms. Lorenzo is a resident of Florida and is the President or Vice

 President of LDF Holdings. (ECF No. 1 ¶ 14.) Plaintiffs also allege that Ms. Lorenzo, “[i]n her

 capacity as President of LDF Holdings . . . [she] has engaged in the collection of unlawful debt.”

 (Id. ¶ 68.)

           The remaining allegations against Ms. Lorenzo are upon information and belief. (Id. ¶¶

 67, 69-70.)

           C.          The Plaintiffs

                       1.        Lori Fitzgerald

           Plaintiff Lori Fitzgerald alleges that she is a resident of the State of Virginia.28 Ms.

 Fitzgerald alleges that she “received usurious loans from LDF Holdings through its

 subsidiaries.”29 She further alleges that she received loans with rates as high as 750% and that

 “Defendants” received no less than $104.88 from her in connection with “the LDF Holdings loan

 issued to her.”30

           The Complaint does not allege how many loans Ms. Fitzgerald obtained, the date(s) of such

 loans, the lender’s name, the principal amount of the loan(s), and how much, if any, principal was

 repaid.




           28
                ECF No. 1 ¶ 9.
           29
            Id. ¶ 16 (emphasis added). Previously in the Complaint, she contrarily alleges that she received “an LDF
 Holdings loan.” Id. ¶ 90 (emphasis added).
           30
                Id. ¶¶ 18, 94.

  111062418                                              17
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 19 of 52 Pageid#: 84




                    2.        Aaron Fitzgerald

         Plaintiff Aaron Fitzgerald alleges that he is a resident of the State of Virginia.31 Mr.

 Fitzgerald alleges that he applied for and received at least five loans “from LDF Holdings through

 its subsidiaries” with interest ranging from 319% to 711%.32 He alleges that Defendants received

 no less than $4,860.87 from him “in connection with the LDF Holdings loans.”33

         The Complaint does not allege, the date(s) of such loans, the lender’s name, the principal

 amount of the loan(s), and how much, if any, principal was repaid.

                    3.        Kevin Williams

         Plaintiff Kevin Williams alleges that he is a resident of the State of Georgia.34 Mr.

 Williams alleges that he “received usurious loans from LDF Holdings through its subsidiaries.”35

 Mr. Williams alleges upon information and belief that the loans included interest in excess of 300%

 and that “Defendants” received no less than $10,892.30 from him in connection with “the LDF

 Holdings loans issued to him.”36

         The Complaint does not allege the date(s) of such loans, the lender’s name, the principal

 amount of the loan(s), and how much, if any, principal was repaid.

                    4.        The Purported Classes

         Plaintiffs seek to certify a nationwide RICO class that is comprised of the following

 persons:



         31
              ECF No. 1 ¶ 10.
         32
              ECF No. 1 ¶¶ 85, 88. Contrarily, Mr. Fitzgerald alleges that he received loans from LDF Holdings. Id. ¶
 85.
         33
              ECF No. 1 ¶ 89.
         34
              ECF No. 1 ¶ 11.
         35
              Id. ¶ 16 (emphasis added).
         36
              Id. ¶¶ 98-99.

  111062418                                               18
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 20 of 52 Pageid#: 85




         All individuals: (1) residing in Virginia, Georgia, or another state where the debt is
         void; (2) who entered into a loan agreement with any subsidiary of LDF Holdings.

 (ECF No. 1 ¶¶ 112, 132.)

         Plaintiffs also seek to certify a nationwide “Declaratory Judgment Class” comprised of the

 following persons.

         All individuals: (1) residing in Virginia, Georgia, or another state where the debt is
         void; (2) who entered into a loan agreement with any subsidiary of LDF Holdings;
         and (3) who have any outstanding balance on their loan.

 (ECF No. 1 ¶ 145.)

         Plaintiffs anticipate that the size of the class is likely thousands and assert that there are no

 factual or legal issues that are different between the putative class members (id. ¶ 134), despite

 that state law regarding the collection of debt will undoubtedly be different from state-to-state.

         Furthermore, regarding damages, Plaintiffs seek actual damages that include any interest,

 fees or sums collected “by the enterprise.”37 Plaintiffs have not specified what, exactly, the

 enterprise consists of and, moreover, how they could recover damages against the Tribal

 Defendants individually, when the damages are tied to the amounts collected “by the enterprise,”

 not the Tribal Defendants.

 V.      STANDARDS OF REVIEW

         A.         Federal Rule of Civil Procedure 12(b)(1)

         “When a suit is brought only against state officials, a question arises as to whether that suit

 is a suit against the State itself.” Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100

 (1984). Sovereign immunity will bar a suit against state officials when “‘the state is the real,

 substantial party in interest.’” Id. (quoting Ford Motor Co. v. Dep’t of Treasury, 323 U.S. 459, 464

 (1945)).


         37
              E.g., ECF No. 1 ¶ 142.

  111062418                                         19
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 21 of 52 Pageid#: 86




         When a suit is brought against an official or employee in their individual capacity, it may

 proceed unless the “sovereign is the real party in interest.” JW Gaming Dev., LLC v. James, No.

 3:18-CV-02669-WHO, 2018 WL 4853222, at *3 (N.D. Cal. Oct. 5, 2018), aff’d, 78 F. App’x 545

 (9th Cir. 2019) cert. denied, 140 S. Ct. 1297 (2020). “Sovereign immunity bars individual-capacity

 suits when ‘the remedy sought is truly against the sovereign.’” Id.

         Issues related to tribal sovereign immunity from suit are addressed pursuant to a motion to

 dismiss for lack of subject matter jurisdiction under Fed. R. Civ. P. 12(b)(1). Pennachietti v.

 Mansfield, No. 17-02582, 2017 WL 6311646, *2 (E.D. Pa. Dec. 11, 2017). The standard depends

 on “whether the defendant makes a facial or factual challenge.” Bell Atl.-Pennsylvania, Inc, 107

 F. Supp. 2d at 659. “Under either approach, it is generally the plaintiff’s burden to prove that

 jurisdiction exists.” Id. Because Plaintiff has admitted that the Tribe created and owns or controls

 the BDC and LDF Holdings and its subsidiaries, the challenge is a facial challenge. In a facial

 challenge, where the allegations of jurisdiction in the complaint are disputed, “the factual

 allegations of the complaint are presumed to be true and the complaint is reviewed to ensure that

 each element necessary for jurisdiction is present.” Id.

         B.     Federal Rule of Civil Procedure 12(b)(3)

         The Fourth Circuit has held that “a motion to dismiss based on a forum-selection clause

 should be properly treated under Rule 12(b)(3) as a motion to dismiss on the basis of improper

 venue.” Aggarao v. MOL Ship Mgmt. Co., 675 F.3d 355, 366 (4th Cir. 2012). Venue is not proper

 in this Court as to Mr. Williams’ claims because his claims are subject to individual, binding

 arbitration pursuant to the Federal Arbitration Act (“FAA”).

         The FAA “embodies the national policy favoring arbitration.” Buckeye Check Cashing,

 Inc. v. Cardegna, 546 U.S. 440, 443 (2006). The Federal Arbitration Act (“FAA”) “provides for

 stays of proceedings in federal district courts when an issue in the proceeding is referable to
  111062418                                      20
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 22 of 52 Pageid#: 87




 arbitration, and for orders compelling arbitration when one party has failed or refused to comply

 with an arbitration agreement.” EEOC v. Waffle House, Inc., 534 U.S. 279, 289 (2002) (citing 9

 U.S.C. §§ 3 & 4). “When faced with a motion to compel arbitration, the court does not review the

 contract as a whole. Rather, the court reviews the arbitration agreement as if it were a free-standing

 contract, with an eye toward two gateway issues.” Davis v. BSH Home Appliances Corp., No.

 4:15-CV-103-FL, 2016 WL 2901741, at *3 (E.D.N.C. May 18, 2016). The Arbitration Provision

 in the loan agreements at issue here specifically invoke the FAA and provide that the arbitration

 forum is the AAA.38

         In the Fourth Circuit a litigant can compel arbitration under the FAA if the litigant can

 demonstrate the following elements:

         (1) the existence of a dispute between the parties,

         (2) a written agreement that includes an arbitration provision which purports to
         cover the dispute,

         (3) the relationship of the transaction, which is evidenced by the agreement, to
         interstate or foreign commerce, and

         (4) the failure, neglect or refusal of the defendant to arbitrate the dispute.

 DIRECTV, LLC v. Saylor, No. 5:13CV111, 2015 WL 1477885, at *4 (W.D. Va. Mar. 31, 2015)

 (quoting Adkins v. Labor Ready, Inc., 303 F.3d 496, 500–01 (4th Cir. 2002)). The party resisting

 arbitration” bears the burden of proving that the claims at issue are unsuitable for arbitration.”

 Green Tree Fin. Corp.-Alabama v. Randolph, 531 U.S. 79, 91, (2000). Also, “[w]here a valid

 arbitration agreement exists and the issues in a case fall within its purview, a court has no choice

 but to grant a motion to compel arbitration.” DIRECTV, 2015 WL 1477885, at *4.




         38
            See Huguley Decl. at “Exhibit 1-A” at 14; “Exhibit 1-B” at 14; “Exhibit 1-C” at 14; “Exhibit 1-D” at
 17-18; “Exhibit 1-E” at 16.

  111062418                                            21
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 23 of 52 Pageid#: 88




         Arbitration agreements may also agree to arbitrate certain “gateway questions of

 arbitrability,” such as “whether the parties have agreed to arbitration or whether their agreement

 covers a particular controversy.” Hengle v. Asner, 433 F. Supp. 3d 825, 846 (E.D. Va. 2020),

 motion to certify appeal granted, No. 3:19CV250 (DJN), 2020 WL 855970 (E.D. Va. Feb. 20,

 2020) (internal quotations omitted). “If a delegation provision both clearly and unmistakably

 delegates gateway issues to an arbitrator and proves valid under § 2, a court may not decide the

 merits of any arbitrability issues and must submit such questions to the arbitrator consistent with

 the parties’ agreement, even if the argument for arbitration proves ‘wholly groundless.’” Id.

         In ruling on a motion to compel arbitration, the Court may consider evidence beyond the

 pleadings. Noe v. City Nat’l Bank of W. Virginia, No. 20-1230, 2020 WL 5814243, at *2 (4th

 Cir. Sept. 30, 2020).

         C.     Federal Rule of Civil Procedure 12(b)(6)

         “The motion to dismiss standard under Federal Rule of Civil Procedure 12(b)(6) is set forth

 in Ashcroft v. Iqbal, 556 U.S. 662 (2009).” Kiessling v. State Farm Mut. Auto. Ins. Co., No. CV

 18-4281, 2019 WL 634639, at *2 (E.D. Pa. Feb. 14, 2019). After Iqbal, “threadbare recitals of the

 elements of a cause of action, supported by mere conclusory statements, do not suffice to defeat a

 Rule 12(b)(6) motion to dismiss.” Id. (internal quotations omitted). To survive a motion to

 dismiss, the complaint must contain sufficient factual matter, accepted as true, to state a claim for

 relief that is “plausible on its face.” Id. (quoting cases). “Facial plausibility is ‘more than a sheer

 possibility that a defendant has acted unlawfully.’” Id. To have facial plausibility, the plaintiff

 must plead “factual content that allows the court to draw the reasonable inference that the

 defendant is liable for the misconduct alleged.” Id.




  111062418                                        22
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 24 of 52 Pageid#: 89




          D.     Federal Rule of Civil Procedure 12(b)(7)

          Pursuant to Federal Rule of Civil Procedure 12(b)(7), a case may be dismissed where

 plaintiffs fail to join a party under Rule 19. In order to determine whether an action should be

 dismissed on this basis, it is necessary to refer to Fed. R. Civ. P. 19. Rule 19 sets forth a two-step

 process for determining whether a party should be joined. “First, the district court must determine

 whether the party is ‘necessary’ to the action under Rule 19(a). If the court determines that the

 party is ‘necessary’, it must then determine whether the party is ‘indispensable’ to the action under

 Rule 19(b).” National Union Fire Ins. Co. v. Rite Aid of South Carolina, Inc., 210 F.3d 246, 249

 (4th Cir.2000). The burden is on the movant to show that the person who was not joined is

 necessary for a just adjudication and “the nature of the unprotected interests of the absent parties.”

 United States v. Rawlings, No. CIV.A.DKC 09-2112, 2010 WL 2292508, at *3 (D. Md. June 3,

 2010).

          On a Rule 12(b)(7) motion, the Court is not limited to the pleadings and may consider

 “other relevant extra-pleading evidence, such as declarations or affidavits.” Romero v. Clean

 Harbors Surface Rentals USA, Inc., 368 F. Supp. 3d 152, 158 (D. Mass.), opinion clarified, 404 F.

 Supp. 3d 529 (D. Mass. 2019).

          E.     Federal Rule of Civil Procedure 12(f)

          Federal Rule of Civil Procedure 12(f) provides that “the court may strike from a pleading

 any insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.” Cty. of

 Dorchester, S.C. v. AT & T Corp., 407 F. Supp. 3d 561, 565 (D.S.C. 2019). “In a motion to

 dismiss class allegations, the defendants have the burden of demonstrating from the face of the

 plaintiffs’ complaint that it will be impossible to certify the classes alleged by the plaintiffs

 regardless of the facts the plaintiffs may be able to prove, analogous to the standard of review for

 motions brought pursuant to Rule 12(b)(6).” Id. “A court may grant a motion to strike class
  111062418                                       23
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 25 of 52 Pageid#: 90




 allegations where the pleading makes clear that the purported class cannot be certified and no

 amount of discovery would change that determination.” Id. (quoting Waters v. Electrolux Home

 Prod., Inc., No. 5:13-cv-0151, 2016 WL 3926431, at *4 (N.D. W. Va. July 18, 2016).).

 VI.     ARGUMENT

         A.         Mr. Williams’ Claims Are Subject to Individual, Binding Arbitration Before
                    the AAA And Must Be Compelled to Arbitration

         The United States Supreme Court mandates that where parties have agreed to arbitrate

 “gateway” questions of “arbitrability,” including “whether the parties have agreed to arbitrate or

 whether their agreement covers a particular dispute,” such disputes are for the arbitrator to decide.

 See Rent-A-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 68-69, 130 S. Ct. 2772, 2777, 177 L. Ed. 2d

 403 (2010); see also, Novic v. Credit One Bank, Nat’l Ass’n, 757 F. App’x 263, 266 (4th Cir.

 2019) (holding that the following language constituted a plain delegation of issues of arbitrability

 to an arbitrator: “[c]laims subject to arbitration include ... the application, enforceability or

 interpretation of [the cardholder agreement], including this arbitration provision.”).

                    1.       Because Mr. Williams Agreed to Arbitrate Arbitrability, All Issues
                             Concerning the Agreement’s Scope, Validity or Enforceability Have
                             Been Delegated to the Arbitrator

         The Arbitration Provisions in the loan agreements contain a delegation provision which

 mandates that claims subject to arbitration include, “[a]ll claims, disputes, or controversies arising

 from or relating directly or indirectly to this Dispute Resolution Procedure and Arbitration

 Provision (“this Provision”), the validity and scope of this Provision and any claim or attempt to

 set aside this Provision.”39 The Arbitration Provisions further state that the arbitrator:

         [S]hall apply applicable substantive law consistent with the Governing Law set
         forth above, and the Federal Arbitration Act, 9 U.S.C §§ 1-16 (“FAA”) and



         39
              Huguley Decl. at Ex. 1-A at 13; Ex. 1-B at 13; Ex. 1-C at 13; Ex. 1-D at 16; and Ex. 1-E at 15.

  111062418                                                 24
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 26 of 52 Pageid#: 91




         applicable statutes of limitation, and shall honor claims of privilege recognized at
         law.40

 Furthermore, the Governing Law section of the loan agreements provides that the “laws of the

 Tribe and applicable federal law will govern this Agreement . . . .”41

         This language contained in the loan agreements is the very type of language that courts

 have held constitute a delegation provision. E.g., Novic, 757 F. App’x at 266-67 (citing cases).

 Therefore, because the Arbitration Provisions in the loan agreements contain a delegation

 provision that encompasses any disputes concerning the application of the delegation provision,

 among other things, the Court should compel Mr. Williams’ individual claims to arbitration and

 stay the case pending such arbitration.

                    2.        Assuming Arguendo That The Court Addresses The Issue, The Four-
                              Factor Arbitration Test Is Satisfied

         Notwithstanding that the issue of whether the four-factor test (Section IV.B, supra) is

 satisfied has been delegated to the arbitrator, should the Court reach the issue, the test is satisfied.

 First, clearly there is a dispute between the parties, the Arbitration Provision is an example of

 interstate commerce, and Mr. Williams has failed to arbitrate the dispute. In addition, there is a

 written agreement that purports to cover and does cover the dispute, as set forth below.

                              a.       A Valid and Enforceable Arbitration Agreement Exists

         Mr. Williams entered into the loan agreements with Niswi and Makwa, which he intimates

 in the Complaint.           (ECF No. 1 ¶¶ 95-97.)             The loan agreements include the Arbitration

 Provisions.42 By signing the Note, Plaintiff expressly agreed that:

         YOU AGREE TO THE TERMS OF THIS ARBITRATION PROVISION
         AND YOU HEREBY AGREE AND ACKNOWLEDGE THAT YOU ARE

         40
              Ex. 1-A at 14; Ex. 1-B at 14; Ex. 1-C at 14; Ex. 1-D at 17; and Ex. 1-E at 16.
         41
              Ex. 1-A at 8-9; Ex. 1-B at 8-9; Ex. 1-C at 8-9; Ex. 1-D at 10; Ex. 1-E at 10.
         42
              Ex. 1-A at 12-15; Ex. 1-B at 12-15; Ex. 1-C at 12-15; Ex. 1-D at 15-19; Ex. 1-E at 14-17.

  111062418                                                 25
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 27 of 52 Pageid#: 92




         WAIVING YOUR RIGHT TO HAVE A COURT RESOLVE ANY DISPUTE
         ALLEGED AGAINST US OR RELATED THIRD PARTIES.43

         CLASS-ACTION/REPRESENTATIVE WAIVER: BY AGREEING TO
         THE TERMS OF THIS ARBITRATION PROVISION, YOU HEREBY
         AGREE AND ACKNOWLEDGE THAT YOU ARE WAIVING YOUR
         RIGHT TO PURSUE OR PARTICIPATE IN REPRESENTATIVE CLAIMS
         AND YOU THEREFORE WILL NOT BE ALLOWED . . . TO
         PARTICIPATE AS A MEMBER OF A CLASS OF CLAIMANTS, IN ANY
         LAWSUIT FILED AGAINST US AND/OR RELATED THIRD PARTIES. .
         . . 44

         “Disputes” are defined to include all disputes arising from or related to the loan agreements,

 including, but not limited to claims based on a violation of any state or federal law and claims

 asserted against Tribal employees or officers, inter alia.45 Furthermore, the loan agreements stated

 that by electronically signing the agreements, Mr. Williams acknowledged that he read the loan

 agreements and agreed to be bound by all of the terms and provisions in the agreements, including

 the Arbitration Provisions.46

         As stated above, per the Arbitration Provisions, Mr. Williams also expressly acknowledged

 and agreed that it was made pursuant to a transaction involving interstate commerce and shall be

 governed by the FAA.47 As previously stated, the arbitration is to occur before the AAA or by a

 different arbitrator if agreed upon by the parties.48 The dispute is governed by the rules of

 procedure of the AAA, as applicable to consumer disputes to the extent they do not conflict with




         43
              Ex. 1-A at 14; Ex. 1-B at 14; Ex. 1-C at 14; Ex. 1-D at 18; Ex. 1-E at 17.
         44
              Ex. 1-A at 14-15; Ex. 1-B at 14-15; Ex. 1-C at 14-15; Ex. 1-D at 18; Ex. 1-E at 17.
         45
              Ex. 1-A at 13; Ex. 1-B at 13; Ex. 1-C at 13; Ex. 1-D at 16; Ex. 1-E at 15-16.
         46
              Ex. 1-A at 15; Ex. 1-B at 15; Ex. 1-C at 15; Ex. 1-D at 18-19; Ex. 1-E at 17.
         47
              Ex. 1-A at 14; Ex. 1-B at 14; Ex. 1-C at 14; Ex. 1-D at 17; and Ex. 1-E at 16.
         48
              Ex. 1-A at 13; Ex. 1-B at 13; Ex. 1-C at 13; Ex. 1-D at 17; Ex. 1-E at 16.

  111062418                                                 26
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 28 of 52 Pageid#: 93




 the loan agreements. The substantive law that is applicable to the dispute is the laws of the Tribe

 and applicable federal law.49

         Furthermore, the loan agreements provide that if the arbitrator renders a decision in Mr.

 Williams’ favor, it will award him reasonable attorney’s fees and in no event shall Mr. Williams

 be responsible for any of the arbitrator’s fees.50

         In sum, valid and enforceable arbitration agreements exist.

                              b.       Mr. Williams’ Claims Are Subject To Arbitration, Assuming
                                       Arguendo That The Court Addresses That Issue

         Notwithstanding that the issue of whether Mr. Williams’ claims are subject to arbitration

 is for the arbitrator to decide, his claims are, in fact, covered by the Arbitration Provisions. The

 Arbitration Provisions in the loan agreements broadly cover “all U.S. federal or state law claims,”

 “all claims asserted by you individually against the Tribe, us and/or any of our employees, agents,

 directors, officers . . . or affiliated entities,” and claims asserted as a representative of a class, inter

 alia.51 Thus, the loan agreements include arbitration of any claims relating to the loans, no matter

 what legal theory and including claims made against anyone connected with Makwa or Niswi,

 including the Tribal Defendants.52 See Hunter v. NHcash.com, LLC, No. 17-348, 2017 WL

 4052386, ** 6-7 (E.D. Va. Sept. 12, 2017) (holding that an arbitration provision that includes any

 claim or dispute arising from or related to the agreement encompasses claims not just claims

 against the lender who issued the loan, but against all defendants).




         49
              Ex. 1-A at 8-9; Ex. 1-B at 8-9; Ex. 1-C at 8-9; Ex. 1-D at 10; Ex. 1-E at 10.
         50
              Ex. A-1 at 13-14; Ex. B-1 at 14; Ex. 1-D at 14; Ex. 1-D at 17; Ex. 1-E at 16.
         51
              Ex. 1-A at 13; Ex. 1-B at 13; Ex. 1-C at 13; Ex. 1-D at 16-17; Ex. 1-E at 15.
         52
              Id.

  111062418                                                 27
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 29 of 52 Pageid#: 94




         Where an arbitration provision is broad, such as the one here, there is a heightened

 presumption of arbitrability so that “[i]n the absence of any express provision excluding a

 particular grievance from arbitration, we think only the most forceful evidence of a purpose to

 exclude the claim from arbitration can prevail.” Warrior & Gulf Nav. Co., 363 U.S. at 584-85.

 “An order to arbitrate the particular grievance should not be denied unless it may be said with

 positive assurance that the arbitration clause is not susceptible of an interpretation that covers the

 asserted dispute.” United Steelworkers of Am. v. Warrior & Gulf Nav. Co., 363 U.S. 574, 582-83

 (1960); see also AT&T Techs., Inc. v. Commc’ns Workers of Am., 475 U.S. 643, 650 (1986).

         The broad, plain language of the loan agreements’ Arbitration Provisions encompasses Mr.

 Williams’ claims against the Tribal Defendants, which are premised on the debt Mr. Williams

 incurred under the loan agreements. Thus, because Mr. Williams’ claims fall squarely within the

 category of “disputes” under the Arbitration Provisions, they should be arbitrated.

                 3.      The Claims Brought By Mr. Williams Should Be Stayed Pending
                         Arbitration

         As discussed above, the Arbitration Provision is to be interpreted according to the FAA,

 which reflects a liberal federal policy favoring arbitration. To that end, Section 3 of the FAA

 provides:

         If any suit or proceeding be brought in any of the courts of the United States upon
         any issue referable to arbitration under an agreement in writing for such arbitration,
         the court in which such suit is pending, upon being satisfied that the issue involved
         in such suit or proceeding is referable to arbitration under such an agreement, shall
         on application of one of the parties stay the trial of the action until such arbitration
         has been had in accordance with the terms of the agreement, providing the applicant
         for the stay is not in default in proceeding with such arbitration.

 9 U.S.C. § 3.

         Thus, Section 3 of the FAA is clear that, where any suit or proceeding brought in a district

 court is referable to arbitration, the district court “shall . . . stay the trial of the action until such

  111062418                                         28
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 30 of 52 Pageid#: 95




 arbitration has been had in accordance with the terms of the agreement.” Id. The only exception,

 not applicable here, is where the applicant for the stay is in default with proceeding with such

 arbitration. Id.

         This Court has recognized that a stay is appropriate in light of the uncertainty in the Fourth

 Circuit of whether a district court has discretion to dismiss rather than stay an action subject to

 arbitration. Green v. Zachry Industrial, Inc., 36 F.3d 669, 678-79 (W.D. Vir. 2014). Accordingly,

 the Tribal Defendants ask that an order be entered, pursuant to Section 3 of the FAA, staying all

 proceedings vis-à-vis Mr. Williams until arbitration has been had as provided for in the Arbitration

 Provision.

         B.         The Tribal Defendants Should Be Dismissed For At Least Four Independent
                    Reasons

         Mr. and Mrs. Fitzgerald’s claims against the Tribal Defendants (and Mr. Williams’ claims,

 in the alternative) must be dismissed because: (1) the Complaint is an impermissible shotgun

 pleading; (2) the Complaint does not state a plausible claim against the Tribal Defendants; (3) the

 Tribe and its entities are the real parties in interest; and (4) the Tribe and its entities are necessary

 and indispensable parties that cannot be joined.

                    1.    The Tribal Defendants Must Be Dismissed Because the Claims Against
                          Them Fail to Plead Which Defendant Engaged in Which Act

         “A Shotgun pleading is ‘[a] complaint that fails to articulate claims with sufficient clarity

 to allow the defendant to frame a responsive pleading.’” Hill v. Stryker Sales Corp., No. 4:13-

 CV-0786-BHH, 2014 WL 4198906, at *2 (D.S.C. Aug. 20, 2014). A complaint constitutes an

 impermissible shotgun pleading where it is unclear which defendants are allegedly responsible for

 which alleged misconduct. McCrea v. Wells Fargo, No. CV RDB-18-2490, 2019 WL 2513770,

 at *7 (D. Md. June 17, 2019), motion for relief from judgment denied, No. CV RDB-18-2490,

 2019 WL 4962022 (D. Md. Oct. 8, 2019). Also, vague allegations that the alleged violation was
  111062418                                         29
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 31 of 52 Pageid#: 96




 made by “Defendants” is not sufficient and constitutes a shotgun pleading. Hirsch v. Lyndon S.

 Ins. Co., No. 3:17-CV-1215-J-39JBT, 2019 WL 5110622, at *4 (M.D. Fla. June 7, 2019), report

 and recommendation adopted sub nom. Hirsch v. Ensurety Ventures, LLC, No. 3:17-CV-1215-J-

 39JBT, 2019 WL 8370863 (M.D. Fla. Aug. 6, 2019), aff’d, 805 F. App’x 987 (11th Cir. 2020)

 (citing cases).

         The Complaint as to the Tribal Defendants is a quintessential shotgun pleading. Plaintiffs

 claim that: “Defendants . . . marketed, initiated, and collected usurious loans throughout the

 country” (ECF No. 1 ¶ 80); “[t]hey charged astronomical interest rates” (id. ¶ 82); and Defendants

 received monies from Plaintiffs (id. ¶¶ 89, 94, 99 (emphasis added).). The Complaint states that

 each Defendant is liable for their own conduct, does not articulate what that conduct is, or how

 each Tribal Defendant participated in the collection of the Plaintiff’s debts.53       Instead, the

 Complaint lumps all the Defendants together and does not identify which Tribal Defendant is

 responsible for which act or omission.

         Thus, the Complaint simply does not “plead[] factual content that allows the [C]ourt to

 draw the reasonable inference that the defendant is liable for the misconduct alleged.” Jackson v.

 Warning, No. CV PJM 15-1233, 2016 WL 7228866, at *4 (D. Md. Dec. 13, 2016) (quoting Iqbal,

 556 U.S. at 663).) As such, the Complaint should be dismissed for failure to meet the requirements

 of Fed. R. Civ. P. 8.

                   2.       Alternatively, Plaintiffs Have Not Stated a Claim Against The Tribal
                            Defendants And, Thus, Counts I, II, And III Should Be Dismissed
                            Pursuant to Rule 12(b)(6)

         Even if the Complaint crosses the shotgun pleading hurdle, it should be dismissed, because

 Plaintiffs’ allegations against the Tribal Defendants are insufficient. The allegations against them


         53
              ECF No. 1 ¶¶ 119, 126.

  111062418                                       30
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 32 of 52 Pageid#: 97




 are insufficient because they are conclusory and speculative. Such allegations are exactly the type

 that the United States Supreme Court has declared are insufficient under modern pleading

 standards. See, e.g., Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d

 868 (2009).

         When evaluating the sufficiency of a complaint, the Court must:

         [C]hoose to begin by identifying pleadings that, because they are no more than
         conclusions, are not entitled to the assumption of truth. While legal conclusions can
         provide the framework of a complaint, they must be supported by factual
         allegations. When there are well-pleaded factual allegations, a court should assume
         their veracity and then determine whether they plausibly give rise to an entitlement
         of relief.

 Bates v. Strawbridge Studios, Inc., No. 7:11-CV-33, 2011 WL 1882419, at *2 (W.D. Va. May 17,

 2011). The determination of whether the Complaint states a claim is “a context-specific task that

 requires the reviewing court to draw on its judicial experience and common sense.” Ashcroft, 556

 U.S. at 679. The determination is exceedingly important when RICO is alleged because RICO is

 “an unusually potent weapon—the litigation equivalent of a thermonuclear device” and the mere

 assertion of RICO “has an almost inevitable stigmatizing effect on those named as defendants.”

 See Moss v. BMO Harris Bank, N.A., 258 F. Supp. 3d 289, 297 (E.D.N.Y. 2017).

         Many courts follow a three-step process for determining whether complaints state a claim

 for relief: “(1) consider the elements necessary to state a claim; (2) identify allegations that are

 merely conclusions and therefore are not well-pleaded factual allegations; and (3) accept any well-

 pleaded factual allegations as true and determine whether they plausibly state a claim.” Jones v.

 Crisis Intervention Servs., 239 F. Supp. 3d 833, 836 (D. Del.), aff’d, 687 F. App’x 121 (3d Cir.

 2017); A.B. By & Through F.B. v. Pleasant Valley Sch. Dist., No. 3:17-CV-02311, 2018 WL

 1960382, at *1 (M.D. Pa. Apr. 25, 2018).




  111062418                                       31
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 33 of 52 Pageid#: 98




         A review of the Complaint in conjunction with these elements demonstrates that the

 Complaint does not plausibly state a claim against the Tribal Defendants.

                        a.      The Elements of Plaintiffs’ Claims

         Here, Plaintiffs allege they received loans in excess of the amount allowed under Virginia

 and Georgia law and in violation of those states’ licensing requirements. (ECF No. 1 ¶¶ 18-19.)

 Plaintiffs cite to Va. Code §§ 6.2-1501(A), 6.2.303(A), and Ga. Code §§ 7-4-2, 16-17-2. (ECF

 No. 1 ¶¶ 18-21.) Based on these allegations, Plaintiffs claim that Defendants violated Section

 1962(c) (by collecting unlawful debt) and Section 1692(d) of RICO (by conspiring to violate

 Section (c)). (ECF No. 1 ¶¶ 111-143, 158.) Plaintiffs also seek a declaration that the loan

 agreements are invalid and that the loans are unenforceable. (ECF No. 1 ¶ 158.)

                                i.     Count I—18 U.S.C. § 1964(c)

         In order to state a claim under Section 1962(c), the Plaintiffs must establish the following

 elements: (1) conduct (2) of an enterprise (3) through a pattern (4) of racketeering activity. Foster

 v. Wintergreen Real Estate Co., No. 3:08CV00031, 2008 WL 4829674, at *4 (W.D. Va. Nov. 6,

 2008), aff’d, 363 F. App’x 269 (4th Cir. 2010), and aff’d, 363 F. App’x 269 (4th Cir. 2010). The

 “conduct” alleged here is the collection of unlawful debt and, thus, Plaintiffs’ RICO claims

 ultimately hinge on whether Defendants collected an unlawful debt. E.g., Belizan v. Easy Money

 of Louisiana, Inc., No. CIV.A.00-2949, 2002 WL 31115249, at *2 (E.D. La. Sept. 19, 2002)

 (holding that “[l]iability under the RICO statute is predicated on acts that consist of ‘racketeering

 activities,’ as defined in RICO § 1961(1), or the collection of ‘unlawful debts,’ as defined in RICO

 § 1961(6).”) Where plaintiffs fail to state a claim for unlawful debt collection, their RICO claims

 necessarily fail as well. Id.; Nolen v. Nucentrix Broadband Networks Inc., 293 F.3d 926, 930 (5th

 Cir. 2002) (holding that the failure to plead the requisite elements under 18 U.S.C. § 1962(c),

 implicitly means that the Section 1962(d) conspiracy to violate that section claim fails as well);
  111062418                                       32
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 34 of 52 Pageid#: 99




 see Raceway Properties, LLC v. LSOF Carlsbad Land L.P., 157 F. App’x 959, 964 (9th Cir. 2005)

 (affirming dismissal of RICO claim because the unlawful debt claim failed).

         Also, in order to state a claim under Section 1962(c) for the collection of unlawful debt,

 Plaintiffs must allege “the existence of two distinct entities: (1) a ‘person’; and (2) an ‘enterprise’

 that is not simply the same ‘person’ referred to by a different name.” Cedric Kushner Promotions,

 Ltd. v. King, 533 U.S. 158, 161 (2001). There must be a “person,” alleged to have violated Section

 1962(c) and to be liable to the claimant for damages, who is separate and distinct from the

 “enterprise,” or tool, through which the RICO violation occurred. See Busby v. Crown Supply,

 Inc., 896 F.2d 833, 840–41 (4th Cir. 1990); Compound Prop. Mgmt., LLC v. Build Realty, Inc.,

 No. 1:19-CV-133, 2020 WL 2734763, at *9 (S.D. Ohio May 26, 2020) (reiterating that “plaintiff

 must allege each of the four elements described above as to that defendant.”).

                                ii.     Count II—18 U.S.C. § 1962(d)

         Regarding Section 1962(d), it provides that: “[i]t shall be unlawful for any person to

 conspire to violate the provisions of subsection (a), (b), or (c) of this section.” Id. § 1962(d). “To

 state a claim for violation of § 1962(d), a ‘plaintiff must successfully allege all the elements of a

 RICO violation,’ as well as alleging ‘the existence of an illicit agreement [that included the

 conspiracy defendant] to violate the substantive RICO provision.’” Compound Prop. Mgmt., LLC,

 2020 WL 2734763 at *9 (citing cases). “To plead conspiracy in a RICO case, a complaint must

 set forth factual allegations that indicate 1) the period of the conspiracy, 2) its intended purpose,

 3) the specific actions taken by the conspirators in furtherance of the conspiracy, 4) agreement to

 commit predicate acts, and 5) knowledge that the acts agreed upon formed part of a pattern of

 racketeering activity.” Ferguson v. Moeller, No. 2:16-CV-41, 2016 WL 1106609, at *8 (W.D. Pa.

 Mar. 22, 2016).


  111062418                                        33
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 35 of 52 Pageid#: 100




                                iii.    Count III—Declaratory Judgment Act

          In regard to Plaintiffs’ cause of action for a declaratory judgment, the Declaratory

  Judgment Act “‘does not broaden the jurisdiction granted to the federal courts by the Constitution

  and statutes enacted pursuant thereto,’ and accordingly, ‘there still must be a case or controversy

  before a federal court can assume jurisdiction and reach the merits’ of a declaratory judgment

  action.” Compound Prop. Mgmt., LLC v. Build Realty, Inc., No. 1:19-CV-133, 2020 WL

  2734763, at *18 (S.D. Ohio May 26, 2020); Duke Energy Progress, LLC v. Roanoke River Basis

  Ass’n, No. 4:17-CV-00032, 2017 WL 3326970, at *4 (W.D. Va. Aug. 3, 2017) (holding that

  plaintiff must assert a substantive right for a Declaratory Judgment Act claim). The Declaratory

  Judgment Act “is remedial only and neither extends federal courts’ jurisdiction nor creates any

  substantive rights.” Duke Energy, 2017 WL 3326970, *4 (quotation omitted).

                         b.     The Complaint Contains Numerous Allegations That Are Not
                                Entitled to the Presumption of Truth

          In the second step of the pleading analysis, courts identify those allegations that are not

  entitled to the presumption of truth, because they are conclusory, are based on information and

  belief, or are legal conclusions. See, e.g., Wikimedia Found. v. Nat’l Sec. Agency, 857 F.3d 193,

  208 (4th Cir. 2017); De La Cruz v. Nordstrom, Inc., No. 19-80109-CIV, 2019 WL 3412172, at *2

  (S.D. Fla. May 2, 2019), report and recommendation adopted, No. 9:19-CV-80109, 2019 WL

  3408923 (S.D. Fla. May 24, 2019) (holding that “[f]actually unsupported allegations based ‘on

  information and belief’ are not entitled to the assumption of truth.”). Also, if the allegations do

  not include some “factual enhancement,” they are not entitled to the presumption of truth.

  Matthews v. Fairfax Trucking, Inc., No. 1:14-CV-01219-GBL, 2015 WL 1906073, at *3 (E.D. Va.

  Apr. 13, 2015); Witbeck v. Equip. Transp., LLC, No. 1:17-CV-0498, 2017 WL 6606906, at *2

  (M.D. Pa. Dec. 27, 2017).

   111062418                                      34
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 36 of 52 Pageid#: 101




          First, the Complaint contains numerous conclusory allegations that bear no relationship to

  the Tribal Defendants or Plaintiffs’ alleged loans and are nothing more than “naked assertions.”

  Such allegations are found at the following paragraphs and are not entitled to the presumption of

  truth: 2; and 24-37; (“tribal lending model was emerging to replace the “rent-a-bank” model).

          Next, there are numerous allegations in the Complaint that are not entitled to the

  presumption of truth because they are merely “upon on information and belief.” Namely, the

  allegations found at the following paragraphs are based on information and belief: 3, 41, 43, 44,

  49-50, 53-60, 62-65, 67, 69-70, 72, 75, 83, 98, and 109. Thus, these paragraphs must be summarily

  disregarded for purposes of determining whether the Complaint plausibly states causes of action

  against the Tribal Defendants.

          Third, there are numerous allegations in the Complaint that are not entitled to the

  presumption of truth because they paraphrase the pertinent statutory language or elements of the

  causes of action in question or are legal conclusions. For example, the allegations that the loans

  are illegal, that the Tribal Defendants “participate, directly or indirectly in the conduct of the

  Enterprise’s affairs in the collection of unlawful debt,” and that Plaintiffs received “usurious” loans

  from LDF Holdings through its subsidiaries are legal conclusions and are not entitled to the

  presumption of truth. Other such legal conclusions are found at the following paragraphs: 1

  (“predatory lender” and loans “illegal”); 2 (e.g., “collected on illegal loans”); 3 (“illegal loans”);

  4 (e.g., “violated applicable state and federal law”); 5-8; 16; 17; 18 (“loans violated Virginia’s

  licensing and usury laws”); 19 (loans “in violation” of law); 20-23; 24; 42 (“illegal lending

  enterprise”); 51 (“illegal lending business” and “illegal loans in violation of state usury and

  licensing requirements”); 68 (“collection of unlawful debt”); 77 (e.g., “illegal lending business”

  and violation of law); 80 (“usurious loans”); 81 (“illegal”); 84; 89 (“illegal lending enterprise”);


   111062418                                        35
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 37 of 52 Pageid#: 102




  94 (“illegal lending enterprise”); 99 (“illegal lending enterprise”); 106; 108 (“subject to laws”);

  110 (“debts were invalid”); 112-124; 126 (“participated in the collection of unlawful debt”); 127

  (“association in fact enterprise”); 128 (“collection of unlawful debt”); 129-130; 132-140; 142-43;

  145-151, 153; 154-158. Thus, the above allegations are also not entitled to the presumption of

  truth.

           Finally, there are also a number of paragraphs based on mere speculation (i.e., contain no

  factual enhancement), which are also not entitled to the presumption of truth. See Keffer v. Reese,

  No. 2:17-CV-00332-LPL, 2018 WL 489007, at *8 (W.D. Pa. Jan. 19, 2018) (speculative

  allegations do not establish facially plausible claims); Williams v. Barkley, No. 3:14CV1600, 2015

  WL 478409, at *5 (M.D. Pa. Feb. 4, 2015), aff’d, 616 F. App’x 484 (3d Cir. 2015). These claims

  include allegations about the Tribe’s potential motivation in issuing loans and adopting ordinances,

  speculation about Tribal Defendants’ participation in “the enterprise,” and the Tribal Defendants’

  knowledge, as set forth in the following paragraphs: 4; 42; 73; 76-79; 81; 89, 94, 99 (e.g., moneys

  received by the Tribal Defendants); and 141.54

                               c.       The Well-Pled Allegations Do Not Plausibly State A Claim For
                                        Relief Against The Tribal Defendants Under RICO

           Stripping away the allegations that are not entitled to the presumption of truth, as the Court

  must, the Complaint does not show “more than a sheer possibility” that Defendants acted

  unlawfully, which is not enough to stave off dismissal. Again, Plaintiffs vaguely assert that the

  Tribal Defendants received money from the Plaintiffs and “participated in the collection of

  unlawful debt.”55 These allegations do not cross the plausibility hurdle. The Complaint does not



           54
               Of course, the mere fact that a lawsuit has been filed challenging the legality of a loan does not mean that
  the loan is, indeed, invalid, contrary to Plaintiffs’ speculative allegations. (E.g., ECF No. 1 ¶¶ 78-79.)
           55
                ECF No. 1 ¶¶ 89, 94, 99, 126, 128.

   111062418                                                 36
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 38 of 52 Pageid#: 103




  plead sufficient facts to support usury claims even against the Tribal lender, let alone usury claims

  against the Tribal Defendants.56

           Plaintiffs’ Complaint contains no allegation as to when they allegedly entered into loans,

  who they entered into the loans with (aside from “LDF Holdings through its subsidiaries”), how

  much interest was repaid; and to whom it was paid. Moreover, there are no allegations to support

  that the Tribal Defendants entered into any contracts with Plaintiffs and no well-pled allegations

  that the Tribal Defendants themselves received any amounts whatsoever and certainly no amounts

  greater than the interest allowed by state law, even assuming arguendo that state law applies (which

  the Tribal Entities do not concede). Accordingly, the Complaint does not include sufficient facts

  to support a claim that the Tribal Defendants engaged in the “collection of unlawful debt” under

  RICO. 18 U.S.C. § 1962.

           Also, Plaintiffs’ RICO claims fail because they have not stated the conduct and injury

  elements. Again, a civil RICO claim requires pleading the following elements: “(1) conduct (2)

  of an enterprise (3) through a pattern (4) of racketeering activity (5) that caused injury to business

  or property.” Ray v. Spirit Airlines, Inc., 126 F. Supp. 3d 1332, 1339 (S.D. Fla. 2015), aff’d, 836

  F.3d 1340 (11th Cir. 2016).

           The “enterprise” requirement requires that one plead and prove the existence of two distinct

  entities: a “person” and an “enterprise”. Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158,

  161 (2001). This requirement “provides the necessary buffer against overly broad RICO claims”

  brought by “opportunistic plaintiffs” for corporations engaged in standard commercial dealings.

  Ray v. Spirit Airlines, Inc., 126 F. Supp. 3d 1332, 1340 (S.D. Fla. 2015), aff’d, 836 F.3d 1340




            56
               The Tribal Defendants vehemently dispute that they personally issued or collected on any loans, including,
  but not limited to Plaintiffs’ loans.

   111062418                                                37
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 39 of 52 Pageid#: 104




  (11th Cir. 2016). “Accordingly, legally separate entities—such as corporations or persons—do

  not necessarily constitute a RICO enterprise by virtue of their interrelationships, even if the parties

  together engage in fraudulent conduct.” Id. In circumstances where the alleged “enterprise” is

  comprised of subsidiaries, agents, or employees of the corporation acting in concert, they are not

  indistinct for the purposes of a civil RICO claim. Id.; Andrews v. Wolcott Rivers Gates, No.

  3:14CV76-HEH, 2014 WL 3016483, at *4 (E.D. Va. July 3, 2014), aff’d sub nom. Andrews v.

  Gates, 587 F. App’x 75 (4th Cir. 2014).

          Here, Plaintiffs allege that the Tribe, BDC and LDF Holdings constitute “one or more

  association in fact enterprises.” (ECF No. 1 ¶ 118.) Although, for Counts I and II, the Plaintiffs

  claim that the Tribal Defendants are sued in their “individual capacity,” the allegations against

  them are not distinct from the alleged “enterprise,” which is the Tribe, the BDC and LDF Holdings.

  Stated another way, the Tribal Defendants’ alleged actions were all within the course and scope of

  their roles as officials or employees of the Tribe, BDC and LDF Holdings.

          Indeed, Plaintiffs have alleged (on information and belief) that “as an Ex-officio board

  member of the LDF Business Development Corporation, Defendant Joseph Wildcat has engaged

  in the collection of unlawful debt.” (ECF No. 1 ¶ 60). As to Ms. Reynolds, Plaintiffs have alleged

  that “as President of the Board of Directors of the LDF Business Development Corporation,” she

  engaged in the collection of unlawful debt. (Id. ¶ 65.) And, as to Ms. Lorenzo, Plaintiffs likewise

  allege that she engaged in the collection of unlawful debt through her “management of LDF

  Holdings and its subsidiaries.” (Id. ¶ 68.)

          For purposes of a distinct entity under RICO, the Tribal Defendants and the Tribe, BDC

  and LDF Holdings are one and the same because:

          [A] corporation can only function through its employees and agents, any act of the
          corporation can be viewed as an act of such an enterprise, and the enterprise is in

   111062418                                        38
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 40 of 52 Pageid#: 105




          reality no more than the defendant itself. Thus, whether employees of a corporation
          associate together to commit a pattern of predicate acts in the course of their
          employment and on behalf of the corporation, the employees in association with
          the corporation do not form an enterprise distinct from the corporation.

  Viridis Corp. v. TCA Glob. Credit Master Fund, LP, 155 F. Supp. 3d 1344, 1358 (S.D. Fla. 2015).

  Indeed, Plaintiffs “may not plead the existence of a RICO enterprise between a corporate defendant

  and its agents or employees acting within the scope of their roles for the corporation because a

  corporation necessarily acts through its agents and employees.” Mason v. Midland Funding LLC,

  No. 1:16-CV-02867-CC-RGV, 2017 WL 6994577, at *16 (N.D. Ga. July 27, 2017), report and

  recommendation adopted as modified, No. 1:16-CV-2867-CC, 2017 WL 8186866 (N.D. Ga. Sept.

  29, 2017).

          In regard to injury, Plaintiffs have not alleged that they have any. Although Mr. Fitzgerald

  asserts that Defendants received $4,860.87 from him in connection with the loans, he does not

  allege how much of that amount was principal on the loans. (ECF No. 1 ¶ 89.) Without that

  information, it is unknown whether he has any loss. Likewise as to Mr. Williams and Ms.

  Fitzgerald—they have alleged that Defendants received monies from them in connection with the

  loans, but that standing alone does not mean they suffered any injury because they did not allege

  the principal amount of the loans. (See ECF No. 1 ¶¶ 94, 99.)

          Plaintiffs’ Section 1962(d) claim fails for the same reason as their 1692(c) claim, and also

  because Plaintiffs have not pled the factual allegations necessary for a conspiracy claim. See

  Ferguson, 2016 WL 1106609, at *8. As set forth above, Plaintiffs’ allegations about the Tribal

  Defendants’ agreement (see ECF No. 1 ¶ 55) is based on “information and belief.” Such

  allegations are not enough to advance allegations beyond a “speculative level,” which is required

  to state a claim. Walters v. McMahen, 795 F. Supp. 2d 350, 356 (D. Md. 2011), aff’d, 684 F.3d

  435 (4th Cir. 2012).

   111062418                                      39
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 41 of 52 Pageid#: 106




           Moreover, Plaintiffs’ conspiracy claim fails as a matter of law because the Tribal

  Defendants’ alleged acts are all within the scope of their employment or official duties.57 Thus,

  the intracorporate conspiracy doctrine prohibits Plaintiffs’ claims.                       Id. (holding that “[t]he

  intracorporate conspiracy doctrine holds that because the acts of corporate agents are attributable

  to the corporation itself, a corporation lacks the multiplicity of actors required to form a

  conspiracy.”); Kiddie Acad. Domestic Franchising, LLC v. Wonder World Learning, LLC, No.

  CV ELH-17-3420, 2019 WL 1441812, at *30 (D. Md. Mar. 31, 2019) (holding that “the employees

  of a corporation cannot legally conspire among themselves or with their corporate principal.”).

           In sum, a careful review of Plaintiffs’ RICO claims demonstrates that these “stigmatizing”

  allegations must be dismissed as a matter of law because Plaintiffs have failed to plead a

  substantive RICO claim based on the collection of unlawful debt and the Complaint does not

  adequately allege a RICO enterprise and that the Tribal Defendants conducted or participated in

  the enterprises’ affairs.

                              d.       The Well-Pled Allegations Do Not Plausibly State A Claim For
                                       Relief Against President Wildcat Under the Declaratory
                                       Judgment Act

           Plaintiffs’ Declaratory Judgment Act claim must be dismissed because Plaintiffs have not

  pled a viable cause of action. Barcenas v. Fed. Home Loan Mortg. Corp., No. CIV.A. H-12-2466,

  2013 WL 286250, at *9 (S.D. Tex. Jan. 24, 2013) (holding that “[t]he Declaratory Judgment Act

  “does not create an independent source of federal jurisdiction, but merely provides a remedy if

  there is, in fact a judicially remediable right.”). Id.; see Scarlett v. Air Methods Corp., 922 F.3d




           57
              Again, Plaintiffs have alleged that the enterprise is an association in fact comprised of the Tribe, Holdings,
  and the BDC. (ECF No. 1 ¶ 118.)

   111062418                                                 40
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 42 of 52 Pageid#: 107




  1053, 1067 (10th Cir. 2019); ACA Fin. Guar. Corp. v. City of Buena Vista, Virginia, 298 F. Supp.

  3d 834, 843 (W.D. Va. 2018), aff’d, 917 F.3d 206 (4th Cir. 2019).

             Plaintiffs intimate that their substantive claim is pursuant to Virginia or Georgia law (ECF

  No. 1 ¶¶ 151-154), but as previously stated, Plaintiffs have not actually brought a claim against

  the Tribal Defendants under Virginia’s Consumer Finance Act (“VCFA”) or under Georgia law.

  To support this “cause of action,” Plaintiffs allege that “LDF Holdings and its subsidiaries were

  not licensed to make loans in Virginia, Georgia, or any other state in the United States” and that

  the loans are null and void because they were made without the required license and the interest

  rates were excessive. (ECF No. 1 ¶¶ 152-153.) However, Plaintiffs have not pled specific facts

  regarding the loans, such as when they were taken out, how much principal, if any was repaid, and

  the status of the loans, and Plaintiffs have not brought a claim under the VCFA or any other state

  statute.

             Undoubtedly, the Plaintiffs have not brought a claim under the VCFA because the Tribal

  Defendants are not “lenders” and the VCFA permits relief only against a “lender.” Va. Code Ann.

  § 6.2-1541. Moreover, Plaintiffs have not pled a cause of action under Georgia’s licensing or

  usury statues,58 let alone alleged any facts to plausibly state a violation of those statutes.

             Thus, because Plaintiffs have failed to plead their substantive legal claims, their claims for

  declaratory relief fail as a matter of law. Accordingly, Count III of Plaintiffs’ Complaint must be

  dismissed for failure to state a claim.




           58
              Also, “[I]t is well settled that violating statutes and regulations does not automatically give rise to a civil
  cause of action by an individual claiming to have been injured from a violation thereof.” Parm v. Nat’l Bank of
  California, N.A., 242 F. Supp. 3d 1321, 1339 (N.D. Ga. 2017).

   111062418                                                  41
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 43 of 52 Pageid#: 108




                    3.        The Tribal Defendants Are Not The Real Parties In Interest And, Thus,
                              Must Be Dismissed

            Again, Plaintiffs’ claims against the Tribal Defendants arise out of loans allegedly issued

  by LDF Holdings’ subsidiaries. (ECF No. 1 ¶ 16.) Plaintiffs seek “actual damages, which would

  include any interest, fees or other sums collected by the enterprise.” (ECF No. 1 ¶ 142 (emphasis

  added).) As set forth above, Plaintiffs admit: the Tribe is a federally-recognized Indian tribe; the

  Tribe owns and/or controls LDF Holdings and its subsidiaries; LDF Holdings is managed by the

  BDC; and BDC operates under the oversight and management of the LDF Tribal Council. (Id. ¶¶

  1, 3, 45-46.) Thus, BDC, LDF Holdings, and LDF Holdings’ subsidiaries should be treated the

  same as the Tribe for purposes of determining whether the Tribe is the real party in interest in this

  case.59




            59
               “The Supreme Court has recognized that tribal immunity may remain intact when a tribe elects to engage
  in commerce using tribally created entities, i.e., arms of the tribe . . . .” Williams v. Big Picture Loans, LLC, 929 F.3d
  170, 176 (4th Cir. 2019). Whether an entity is an arm of the tribe need not be assessed where a party does not contest
  it. Pennsylvania v. Think Finance, LLC, No. 14-cv-7139, 2018 WL 4633750, * 3 (E.D. Pa. Sept. 26, 2018) (holding
  that the court need not assess whether the tribal entity was an arm of the tribe because the parties did not contest it).
  The issue of whether the Tribe’s entities are arms of the tribe is not before the Court.

   111062418                                                 42
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 44 of 52 Pageid#: 109




           The Tribe is entitled to sovereign immunity from this suit.60 Accordingly, had Plaintiffs

  named the Tribal Defendants in their official capacity61 (for the RICO claims), there can be no

  dispute that sovereign immunity would bar this suit.62 See Cook v. AVI Casino Enterprises, Inc.,

  548 F.3d 718, 727 (9th Cir. 2008); see, e.g., Hafer v. Melo, 502 U.S. 21, 25 (1991) (holding that

  where officials or employees are named in a case in their official capacity, the suit is treated as a

  suit against the sovereign). Nonetheless, looking behind Plaintiffs’ characterization of the Tribal

  Defendants in the Complaint, as the Court must, it is evident that the Tribe is the real party in

  interest.

           The Tribal Defendants are literally persons, such that lawsuits may be filed against them

  in their personal (individual) capacity or their official capacity. See Hafer v. Melo, 502 U.S. 21,

  27 (1991). When officials and employees are named in their personal/individual capacity, an



           60
              “Indian tribes are ‘distinct, independent political communities, retaining their original natural rights’ in
  matters of local self-government.” Santa Clara Pueblo v. Martinez, 436 U.S. 49, 55 (1978). Among the core aspects
  of sovereignty that tribes possess is the “common-law immunity from suit traditionally enjoyed by sovereign powers.”
  Michigan v. Bay Mills Indian Cmty., 572 U.S. 782, 788 (2014). Thus, as a matter of federal law, Indian tribes are
  immune from suit absent congressional abrogation or clear waiver by the tribe. Kiowa Tribe of Oklahoma v. Mfg.
  Techs., Inc., 523 U.S. 751, 754 (1998). That immunity, the United State Supreme Court has explained, is “a necessary
  corollary to Indian sovereignty and self-governance.” Bay Mills Indian Cmty., 572 U.S. at 788.
            The existence of tribal sovereign immunity does not depend on where the tribal activities occurred—on or
  off the reservation—and it does not depend on whether the activities are governmental or commercial. Id. Also, tribal
  sovereign immunity is not eviscerated when the Indian tribe chooses to conduct economic activities in commerce
  using tribally created entities. See Williams v. Big Picture Loans, LLC, No. 18-1827, 2019 WL 2864341, at *3 (4th
  Cir. July 3, 2019); Breakthrough Mgmt. Grp., Inc. v. Chukchansi Gold Casino & Resort, 629 F.3d 1173, 1183 (10th
  Cir. 2010). Indeed, tribal business operations “are critical to the goals of tribal self-sufficiency because such
  enterprises in some cases ‘may be the only means by which a tribe can raise revenues,’ which is ‘due in large part to
  the insuperable (and often state-imposed) barriers Tribes face in raising revenue through more traditional means.’”
  Bay Mills Indian Cmty., 572 U.S. at 810 (Sotomayor, J., concurring).
           61
             Official capacity claims against Mr. Wildcat and Ms. Reynolds are not feasible because neither of them
  currently holds official office.
           62
              Plaintiffs have not alleged that the Tribe waived immunity from suit. Moreover, although the Tribal
  Defendants dispute that Virginia or Georgia law applies to the loan agreements, it is settled law that tribal sovereign
  immunity applies regardless of whether state substantive laws apply. Kiowa Tribe, 523 U.S. at 755. Sovereign
  immunity also applies to Plaintiffs’ RICO claims, as RICO contains “no language which suggests Congress
  ‘unequivocally’ waived Indian tribes’ sovereign immunity . . . .” Smith v. Babbitt, 875 F. Supp. 1353, 1365 (D. Minn.
  1995), judgment aff’d, appeal dismissed in part, 100 F.3d 556 (8th Cir. 1996).

   111062418                                                43
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 45 of 52 Pageid#: 110




  assessment of who is “the real party in interest” must be conducted to determine whether sovereign

  immunity bars the suit. Lewis v. Clark, 137 S. Ct. 1285, 1290 (2017). In determining whether the

  sovereign is the real party in interest, the Supreme Court has instructed that “courts may not simply

  rely on the characterization of the parties in the complaint, but rather must determine in the first

  instance whether the remedy sought is truly against the sovereign.” Id. If the action is in essence

  against a sovereign even though the sovereign is not named as the party, the sovereign is the real

  party in interest. Cf. id. at 1290.

          The sovereign may be the real party in interest where the judgment will operate against it

  or will require action by the sovereign or disturb the sovereign’s property. See id. at 1291. Stated

  another way, the sovereign may be the real party in interest where “the judgment sought would

  expend itself on the public treasury or domain, or interfere with the public administration, or the

  effect of the judgment would be to restrain the [sovereign] from acting or compel it to act.” Pistor

  v. Garcia, 791 F.3d 1104, 1113 (9th Cir. 2015) (quoting Maxwell v. County of San Diego, 708

  F.3d 1075, 1088 (9th Cir. 2013) (quotations omitted)).

          Here, a judgment would undisputedly operate against the Tribe, as the damages sought are

  based on sums “collected by the enterprise.” ECF No. 1 ¶ 142 (emphasis added); e.g., Allen v.

  Smith, No. 12cv1668, 2013 WL 950735, *10 (S.D. Cal. Mar. 11, 2013) (reiterating that the general

  rule is that “relief sought nominally against an officer is in fact against the sovereign if the decree

  would operate against the latter.”). Thus, class relief would in fact be against the Tribe, which

  renders the Tribe the real party in interest.

          Also, the Tribe is the real party in interest because the relief sought—class certification—

  would interfere with its public administration and compel the Tribe to act. Of course, Plaintiffs

  would have to ascertain the size of the proposed class through discovery. Information about LDF


   111062418                                        44
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 46 of 52 Pageid#: 111




  Holdings’ and its subsidiaries’ businesses is “official” information, and not the Tribal Defendants’

  personal information. Thus, Plaintiffs will without a doubt seek to compel the Tribe—not the

  Tribal Defendants—to provide information about the class. This also reveals that the Tribe is the

  real party in interest.

          Moreover, the judgment that Plaintiffs seek in this case would interfere with public

  administration because Plaintiffs seek a determination that the loans issued by LDF Holdings’

  subsidiaries are invalid and uncollectable. However, undoubtedly, the Tribe believes its Ordinance

  applies to the loans and that the loans are collectable. Thus, the declaratory judgment that Plaintiffs

  seek would cloud the Tribe’s ability to enforce its Ordinance, obscure the TFSRA’s oversight of

  the Tribe’s online consumer financial services, and cloud the Tribe’s ability to collect on its loans.

  For this additional reason, the Tribe is the real party in interest.

          In sum, because the judgment would operate against the Tribe, would interfere with the

  Tribe’s public administration, and would compel the Tribe to act, the Tribe is the real party in

  interest. Thus, this case should be dismissed because the Tribe is the real party in interest and it is

  entitled to tribal sovereign immunity.

                  4.        The Court Should Dismiss The Tribal Defendants Because The Tribe
                            And Its Subsidiaries Are Necessary And Indispensable Parties That
                            Plaintiffs Cannot Join

          Federal Rule of Civil Procedure 12(b)(7) allows dismissal of a claim for failure to join a

  party under Rule 19. Fed. R. Civ. P. 12(b)(7). “Under Rule 19, a court must dismiss an action if:

  (1) an absent party is required, (2) it is not feasible to join the absent party and (3) it is determined

  ‘in equity and good conscience’ that the action should not proceed among the existing parties.”

  United Keetoowah Band of Cherokee Indians in Oklahoma v. Kempthorne, 630 F. Supp. 2d 1296,

  1301 (E.D. Okla. 2009).


   111062418                                         45
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 47 of 52 Pageid#: 112




                              a.         The Tribe Is Required

          As to the first question, whether the absent party is required, courts have held that a “party

  to a contract is the quintessential ‘indispensable party’ and no procedural principal is more deeply

  embedded in the common law than that, in an action to set aside a lease or contract, all parties who

  may be affected by the determination of the action are indispensable.” Id. (quoting Jicarilla

  Apache Tribe. v. Hodel, 821 F.2d 537, 540 (10th Cir. 1987)); Gregoria v. Total Asset Recovery,

  Inc., No. CIV.A. 12-4315, 2015 WL 115501, at *6 (E.D. Pa. Jan. 7, 2015). Here, the heart of the

  controversy is whether the loan agreements—loan agreements entered into between Plaintiffs and

  LDF Holdings’ subsidiaries—are valid. The Tribe has a direct interest relating to the subject of

  this action because, if Plaintiffs are successful, the requested relief will immediately affect the

  validity of the loan agreements. The relief that Plaintiffs request would enjoin the Tribe, through

  LDF Holdings and its subsidiaries, from collecting on the loan agreements, inter alia.

          Moreover, such a ruling would potentially disrupt services that the Tribe provides to its

  members, because LDF Holdings’ subsidiaries generate revenue for the BDC and the Tribe.63 That

  revenue funds the Tribe’s essential governmental services and economic development.64 Without

  that revenue, many of the Tribe’s essential governmental services would experience funding cuts.65

  This goes well beyond a mere pecuniary interest. It goes to the Tribe’s ability to function as a

  government and serve its members and the surrounding community.

                              b.         It Is Not Feasible To Join The Tribe

          With respect to the second question, joinder in this case is not feasible because of the

  Tribe’s status as a sovereign nation. Yashenko v. Harrah’s NC Casino Co., LLC, 446 F.3d 541,


          63
               Johnson Decl. ¶¶ 7, 10.
          64
               Johnson Decl. ¶ 10.
          65
               Johnson Decl. ¶ 12.

   111062418                                             46
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 48 of 52 Pageid#: 113




  553 (4th Cir. 2006). Undisputedly, the Tribe is entitled to sovereign immunity. E.g., id. The Tribe

  has not waived is immunity for this action and Congress has not abrogated it.

                            c.   The Action Should Not Proceed Among The Existing Parties

          Finally, equity and good conscience dictate that the Tribal Defendants must be dismissed

  from this case. When making the determination whether the Tribal Defendants should be

  dismissed, the Court may look to the following factors:

          [F]irst, to what extent a judgment rendered in the person’s absence might be
          prejudicial to the person or those already parties; second, the extent to which, by
          protective provisions in the judgment, by the shaping of relief, or other measures,
          the prejudice can be lessened or avoided; third, whether a judgment rendered in the
          person’s absence will be adequate; fourth, whether the plaintiff will have an
          adequate remedy if the action is dismissed for nonjoinder.

  Yashenko v. Harrah’s NC Casino Co., LLC, 446 F.3d 541, 552 (4th Cir. 2006).

          First, a judgment in this lawsuit would prejudice the Tribe and LDF Holdings’ subsidiaries

  (and LDF Holdings and the BDC) for the same reason that they are required parties. Their absence

  would also prejudice the Tribal Defendants because at bottom, Plaintiffs claim that the loans are

  invalid under state law, but, as Plaintiffs eluded, the Tribe undoubtedly would assert that the loans

  are governed by Tribal law and applicable federal law. The Tribe and its entities are better suited

  than the individuals to make and support that position.

          Second, it is inconceivable that there are any alternative measures that could lessen or avoid

  prejudice to the Tribe.

          Third, a judgment rendered in the Tribe’s absence would not be adequate—namely, a

  judgment in Plaintiffs’ favor would create uncertainty as to whether the Tribe, through LDF

  Holdings’ subsidiaries, could collect on the loans. Davis ex rel. Davis v. United States, 343 F.3d

  1282, 1292-93 (10th Cir. 2003) (holding that “[t]he Supreme Court has explained that Rule 19(b)'s

  third factor is not intended to address the adequacy of the judgment from the plaintiff's point of

   111062418                                       47
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 49 of 52 Pageid#: 114




  view” and a judgment in the Tribe’s absence “could well lead to further litigation and possible

  inconsistent judgments.”). That judgment, therefore, would be “inadequate.”

          Finally, the “lack of an alternative forum does not automatically prevent dismissal of a

  suit.” Confederated Tribes of Chehalis Indian Reservation v. Lujan, 928 F.2d 1496, 1500 (9th Cir.

  1991). Courts recognize that a plaintiff’s interest in litigating a claim may be outweighed by a

  tribe’s interest in maintaining its sovereign immunity. Id.; U.S. ex rel. Hall v. Tribal Dev. Corp.,

  100 F.3d 476, 480 (7th Cir. 1996); Salton Sea Venture, Inc. v. Ramsey, No. 11CV1968-IEG WMC,

  2011 WL 4945072, at *6 (S.D. Cal. Oct. 18, 2011). In fact, there is a “strong policy . . . favor[ing]

  dismissal when a court cannot join a tribe because of sovereign immunity” and when a necessary

  party is immune from suit, “there is very little room for balancing of other factors set out in Rule

  19(b), because immunity may be viewed as one of those interests compelling by themselves.”

  Davis, 343 F.3d at 1293.

          Thus, given the Rule 19(b) factors, the Tribe and its entities are indispensable parties and

  the Tribal Defendants should be dismissed.

          C.      Alternatively, The Class Action Allegations Should Be Stricken

          Class allegations may be stricken before the plaintiff files for class certification where it is

  unnecessary for the court to “probe behind the pleadings before coming to rest on the certification

  question.” Cty. of Dorchester, S.C. v. AT & T Corp., 407 F. Supp. 3d 561, 568 (D.S.C. 2019)

  (citing cases). Moreover, a motion to certify a class is not required for the Court to decide the

  certification issue when doing so is practical and appropriate. See John v. Nat’l Sec. Fire & Cas.

  Co., 501 F.3d 443, 445 (5th Cir. 2007) (holding that “[t]he existence of an ascertainable class of

  persons to be represented by the proposed class representative is an implied prerequisite” and

  “[w]here it is facially apparent from the pleading that there is no ascertainable class, a district court


   111062418                                         48
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 50 of 52 Pageid#: 115




  may dismiss the class action allegation on the pleadings.”); see 7AA Charles Alan Wright, Arthur

  R. Miller & Mary Kay Kane, Federal Practice and Procedure § 1785 (3d ed. 2005).

          The Fourth Circuit has “repeatedly recognized that Rule 23 contains an implicit threshold

  requirement that the members of a proposed class be ‘readily identifiable.’” EQT Prod. Co. v.

  Adair, 764 F.3d 347, 358 (4th Cir. 2014). Meaning that, “[a] class cannot be certified unless a

  court can readily identify the class members in reference to objective criteria.” Id. (citing cases).

  “The plaintiffs need not be able to identify every class member at the time of certification. But

  ‘[i]f class members are impossible to identify without extensive and individualized fact-finding or

  “mini-trials,” then a class action is inappropriate.’” Id. (quoting Marcus, 687 F.3d at 593; and

  citing 7A Charles Alan Wright et al., Federal Practice & Procedure § 1760 (3d ed. 2005) (“[T]he

  requirement that there be a class will not be deemed satisfied unless ... it is administratively feasible

  for the court to determine whether a particular individual is a member.”)). Moreover, “[n]o class

  action is proper unless all litigants are governed by the same legal rules.”                      In re

  Bridgestone/Firestone, Inc., 288 F.3d 1012, 1015 (7th Cir. 2002).

          Here, the class allegations must be stricken because the classes do not, as a matter of law,

  satisfy the commonality and superiority requirements of Fed. R. Civ. P. 23(a) and (b), and, also,

  the proposed classes raise serious ascertainability issues. EQT Prod. Co. v. Adair, 764 F.3d 347,

  358 (4th Cir. 2014) (holding “[i]f class members are impossible to identify without extensive and

  individualized fact-finding or ‘mini-trials,’ then a class action is inappropriate.”); In re

  Bridgestone/Firestone, Inc., 288 F.3d 1012, 1015 (7th Cir. 2002) (holding that where state laws

  differ regarding the legal theory presented, a suit may not proceed as a nationwide class). Plaintiffs

  recognize that for each potential class member, the Court would have to look to state law to

  determine if the debt is void. (E.g., ECF No. 1 ¶¶ 112, 132, 145.) Thus, there is no unitary


   111062418                                         49
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 51 of 52 Pageid#: 116




  application of the law of one state. “[W]here the applicable law derives from the law of the 50

  states, as opposed to a unitary federal cause of action, differences in state law will compound the

  [ ] disparities among class members from different states.” Tietsworth v. Sears, 720 F. Supp. 2d

  1123, 1148 (N.D. Cal. 2010); see, e.g., In re Yasmin & Yaz (Drospirenone) Mktg., 275 F.R.D.

  270, 275 (S.D. Ill. 2011). Thus, for this reason alone, the class allegations should be stricken.

          Plaintiffs also cannot satisfy the typicality and adequacy requirements because each

  purported class member must show they suffered an “injury” to fall within the scope of the class

  identified in Counts I and II (18 U.S.C. ¶ 1964(c)), and demonstrate that they have an “outstanding

  balance” to fall within the scope of the class set forth in Count III. Of course, as to Counts I and

  II, the putative class members’ “actual, concrete, tangible damages cannot be shown by common

  evidence because the determination of those damages requires an inherently individual inquiry.”

  Roberts v. The Scott Fetzer Co., No. 4:07-CV-80 (CDL), 2010 WL 3937312, at *8 (M.D. Ga. Sept.

  30, 2010). Proof sufficient to substantiate actual damages would necessitate adjudication of highly

  individualized issues, which would vastly outweigh the common questions applicable to actual

  damage claims. See In re TD Bank, N.A. Debit Card Overdraft Fee Litig., 325 F.R.D. 136, 164-

  65 (D.S.C. 2018). Similarly, to establish that proof sufficient to substantiate an “outstanding

  balance on their loan” would also necessitate adjudication of highly individualized issues and

  would outweigh common questions applicable to the Declaratory Judgment Act count.

          Thus, for these reasons, among others, as a matter of law, Plaintiffs cannot establish all of

  the factors set forth in Fed. R. Civ. P. 23(a) and cannot establish any of the factors set forth in Fed.

  R. Civ. P. 23(b). As such, the class action allegations should be stricken.

  VII.    CONCLUSION

          For the reasons set forth above, the Tribal Defendants ask that Mr. Williams’ claims be

  compelled to arbitration or, alternatively, dismissed. In regard to Plaintiffs Lori Fitzgerald and
   111062418                                        50
Case 3:20-cv-00044-NKM-JCH Document 16 Filed 10/30/20 Page 52 of 52 Pageid#: 117




  Aaron Fitzgerald, the Tribal Defendants ask that their claims also be dismissed. Alternatively, the

  Tribal Defendants ask that the class action allegations against them contained in Counts I, II, and

  III be stricken.

                                               By: /s/ Alan D. Wingfield
                                                  Alan D. Wingfield (VSB No. 27489)
                                                  John E. Komisin (VSB No. 84061)
                                                  Troutman Pepper Hamilton Sanders LLP
                                                  1001 Haxall Point
                                                  Richmond, VA 23219
                                                  Telephone: (804) 697-1200
                                                  Facsimile: (804) 697-1339
                                                  Email: alan.wingfield@troutman.com
                                                  Email: jed.komisin@troutman.com
                                                  Counsel for Jessi Lorenzo, Nicole Reynolds and
                                                  Joseph Wildcat, Sr.

                                                   and

                                                   Shilee T. Mullin (pro hac admission pending)
                                                   Spencer Fane LLP
                                                   13520 California Street, Suite 290
                                                   Omaha, NE 68154
                                                   Telephone: (402) 965-8600
                                                   Fax: (402) 965-8601
                                                   E-mail: smullin@spencerfane.com
                                                   Counsel for Jessi Lorenzo and Nicole Reynolds

                                                   and

                                                   Andrew Adams III (pro hac admission pending)
                                                   Hogen Adams PLLC
                                                   1935 County Road B2 W., Suite 460
                                                   Saint Paul, MN 55113
                                                   Telephone: (651) 842-9100
                                                   Fax: (651) 842-9101
                                                   E-mail: aadams@hogenadams.com
                                                   Counsel for Joseph Wildcat, Sr




   111062418                                      51
